U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 1 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 2 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 3 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 4 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 5 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 6 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 7 of 73
                    IN THE UNITED STAT[S BANKRUPTCY COURT
                              FOR THE DlSTRICT OF HAWAIJ



INRE:                                              §
                                                   §
PANIOLO CABLE COMPANY, LLC,                        §     CASE NO. - - - -- -
                                                   §     (Involuntary Chapter 11)
        Alleged Debtor.                            §


                DECLARATION OF HSBC SECURITIES (USA) INC.
         IN SUPPORT O F INVOLUNTARY CHAPTER 11 PETITION AGAINST
                       PANIOLO CABLE COMPANY, LLC

        I, Thomas J. Curran. declare as follows:

        l.     I am a managing director of HSBC Secur ities (USA) Inc.         I   subm it thi s

declaration in support of the Involuntary Chapter 11 Petition Against Paniolo Cable Company,

LLC.

        2.     I am over the age of 18 and have personal knowledge of the facts stated in this

Declaration, each of which is true and correct.

        3.     HSBC Securities (USA) Inc. is the owner and holder of the original principal sum

of $ 152,442.006 of Series /\. Senior First Li en Secured Notes, the original principal sum of

$22.204,327 of Series B Senior First Lien Secured Notes, and $643.4 16 of Series C Subordinated

Unsecured Notes (collectively, the ·'HSBC USA Notes..) issued by Paniolo Cable Company,

LLC under the Amended and Restated Note Purchase Agreement, dated as of October 1, 2007

among Pan iolo Cable Company, LLC. as Issuer, Deutsche Bank AG. New York Branch. as

Initial Purchaser. Deutsche Bank Trust Company Americas. as Purchasers' Agent, Registrar,

Paying Agent, Collateral Agent and Securities Intermediary. and the purchasers party to the

agreement from time to time. No valuation of the liens securi ng the HSBC USA Notes has been

made.    Effective as of September 25, 2015, Paniolo Cable Company. LLC acknowledged,



 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 8 of 73
confirmed and agreed that immediately prior to such date, Paniolo Cable Company, LLC was

indebted to the holders of the notes under the Note Agreement in the following amounts: (i) to

the holders of the Series A first lien secured notes in the p1incipal an1ount of $186,296, 177, (ii)

to the holders of the Series B second lien secured notes in the principal amount of $22,204,327,

and (iii) to the holders of the Series C subordinated unsecured notes in the principal amount of

$643,416, in each case plus accrued interest thereon plus accrued and unpaid fees, costs and

expenses due under the Note Agreement.

         4.    HSBC Securities (USA) Tnc. acquired the HSBC USA Notes via w1conditional

trnnsfer pursuant to the documents attached hereto as HSBC Exhibit A, which set forth the

consideration for and terms of the transfer. The HSBC USA Notes were not transferred for the

purpose of commencing the case.

         5.     As of October 31 , 2018, there was currently outstanding, past due and lmpaid

under the HSBC USA Notes, as follows: the sum of $176,296,177 under Series A Senior First

Lien Secured Notes, the sum of $22,204,327 under Series B Senior Second Lien Secured Notes,

and the sum of $643,416 of Series C Subordinated Unsecured Notes, plus accrued and unpaid

interest, plus accrued and unpaid fees, costs and expenses.

         6.     Neither Paniolo Cable Company, LLC or any other person has disputed Paniolo

Cable Company, LLC's liability for the HSBC USA Notes or the amount due thereunder.

         7.     HSBC Securities (USA) lnc. has authorized Norton Rose Fulbright US LLP and

Chun Kerr LLP to act as counsel in its capacity as a petitioning creditor.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

November _
         13 , 2018 in New York, New York.




73594839.6                                      -2-
  U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 9 of 73
                                        Isl
                                              Name: Thomas J. Curran




73594839.6                            -3-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 10 of 73
                               CERTIFICATE OF SERVICE

       I hereby certify that on the 13th
                                     _ day of November, 2018, a copy of the foregoing
Declaration has been served upon the persons entitled to notice by either U.S. first class mail,
postage prepaid or by electronic notification and as required under the Federal Rules of
Bankruptcy Procedure.

                                               Isl Toby L. Gerber




73594839.6                                    -4-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 11 of 73
                              HSBC EXHIBIT A




73594839.6                            -5-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 12 of 73
                                      PURCHASE AGREEMENT


         This Purchase Agreement, dated as of March 5 _ . 20 l 8 (this "Agreement"), is by and among
KA Finanz ("Seller") and I !SBC Securities (USA) Inc. ('·Buyer''). Capitalized terms used but not defined
in this Agreement will have the meanings ascribed to them in the Note Purchase Agreement (as defined
below).

           WHEREAS. Seller wishes to sell to Buyer. and Buyer \\ishes to purchase from Seller
outstanding principal amount of Series A Senior First Lien Secured Notes with an original face amount of
$16, 607.264.00 due May 20, 2027. CUSlP 698491 AAS (the·· Notes") of Paniolo Cable Compan). LLC
(the .. Issuer") all issued pursuant to that certain Amended and Restated Note Purchase Agreemen~ dated
as of October 1. 2007, among the Issuer, Deutsche Bank AG, New York Branch, Deutsche Bank Trust
Company Americas and the other parties thereto from time to time (the ··Note Purchase Agreement"') on
the terms and subject to the conditions set forth herein:

        NOW. THEREFORE. for and in consideration of the premises and mutual covenants and
agreements contained herein, and for other good and valuable consideration. the receipt and sufficiency of
v.hich are hereby acknowledged. the parties do hereby agree as follows:

1.      PURCHASE AND SALE OF THE NOTES

         Upon the terms and subject to the conditions set forth in this Agreement, on the Closing Date (as
defined below), Seller sha ll sell, transfer. assign and comcy the Transferred Rights (as defined below) to
Buyer, and. in consideration thereof, Buyer shall pay to Seller the purchase price (the "'Purchase Price"')
on a delivery versus pa) mcnt basis via the Depository Trust Company ("DTC'') with respect to Notes.
and in each case using the accounts and instructions set forth on the Schedule to this Agreement. as
payment in full for the Transferred Rights. As used in this Abrreemen~ the "'C losing Date"' means the
date upon which the conditions of closing set forth in Section 4 hereof have been satisfied or waived. As
used in this Agreement. the "'Transferred Rights•· means. collectively. (a) the Notes and all right. title.
duties. obligations and interest of Seller in and to the Notes and the Note Purchase Agreement, (b) all
payments and distributions in connection with the Notes, whether in the form of principal, interest.
premium, fees or othcn'> isc, in each case, accruing or relating to any time on or aner the Trade Date (as
defined below): (c) all agreements, documents and instruments entered into by Issuer or Seller related to
the Notes (including, without limitation. the Financing Documents (as defined in the Note Purchase
Agreement)): (d) all or Seller" s voting. consent. approval. \vaiver or other contractual rights under the
Notes and an)' related agreements. documents or instruments: (e) an) and all claims (including ''claims"'
as defined in § l 01 (5) of the Bankruptcy Code. 1 I U .S.C. §§ 101 et seq., as amended), suits. causes of
action. and an) other right of Seller with respect to the Notes, whether kno\.,,n or unknown, whether
arising before. on or after the Closing Date. against the Issuer. fill) of its affiliates. any guarantor, or any
other person or entity arisi ng under or in connection \\ith the Notes; (t) any of Seller's rights. duties and
obligations under any Guarantee, Collateral and security of any kind for or in respect of the foregoing;
and (g) Seller's rights to any and all proceeds of any o f Lhc foregoing. The sale of the Transferred Rights
shall be without recourse to Seller and except as expressly set forth herein. withou1 representation or
warranty by Seller.




RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 13 of 73
2.      REPRESENT ATlONS AND W ARRANTJES OF SELLER

        <;eller represents and \\arrants to Buyer as of the date of this Agreement (the "Agreement Date"")
and as of the Closing Date that:

         (a)      <ieller is an entit) duly organized. valid!} existing and in good standing under the laws of
the jurisdiction of its fonnation.

         (b)     Seller has all necessary power and authority to e:\.ccute. deliver. and perform its
obligations under this Agreement and each of the other documents lo be e'\ecuted or delivered by Seller in
connection"' ith this Agreement (collectively, the ·'Seller Transaction Documents'') and to consummate
the transaction contemplated in th is Agreement (the "Transaction"'). The Seller Transaction Documents
have been or will be duly authorized. executed and delivered by Seller and constitute legally vaJid and
binding obligations of Seller, enforceable against Seller in accordance with their terms, except that such
enforceabilit) may be limited by bankruptcy. insolvency. reorganizalion. moratorium or other similar
laws affecting the rights of creditors generally orb} general equitable principles.

         ( c)     The execution and delivery of the Seller Transaction Documents by Seller. and the
performance b) Seller of its obligations pursuant to the Seller Transaction Documents. will not (i) result
in a breach or\ iolation of any provision of Seller's organizational documents. (ii) violate or any statute,
law, \Hit. order. rule or regulation of an} govenunent, governmental agenc}. authority. commission, court
or other tribunal (collectively. ··Governmental Authorit} ")applicable to Seller. (iii) breach or result in
default of an} judgment. injunction. decree or determination of any Governmental Authority applicable to
Seller. (i\) breach or violate an) material agreement to \\hich Seller is a party or by \\.hich Seller or any
of its properties ma) be bound or (v) result in a breach or violation of a ny provisions of the Note Purchase
Agreement. or an} other Financing Documents.

          (d)      <ieller is the sole legal and beneficial owner of the Transferred Rights, has good legal and
beneficial title to the Transferred Rights and has the full right to transfer the I ransforred Rights. The
Transferred Rights are owned by Seller free and clear of any lien. pledge, security interest, charge,
hypothecation. security agreement. security arrangement or encumbrance or other adverse claim against
title of any kind (collectively. "Liens"). Upon delivery of the Transferred Rights to Buyer on the Closing
Date against payment of the Purchaser Price as contemplated by this Agreement. Se ller will transfer to
Buyer good and va lid legal and beneficial title to the Transferred Rights free and clear of any and all
Liens (other than any Liens created by Buyer upon delivery of the Transl'crred Rights). Other than
pursuant to this Agreement or the Seller Transaction Documents. Seller has not sold. conveyed,
trans fcrred, assigned, participated, pledged or other\\ ise enc um be red the Transferred Rights, in whole or
in part.

       (e)      Neither the execution and delivery by Seller of the Seller rransaction Documents. nor the
perfonnance b) Seller of its obligations under the Seller Transaction Documents, requires the consent,
approval. order or authorization of, or registration" ith. or the gi\ ing of notice to. any Governmental
Authorit) or an) other person or entity.

         ( J)     Neither Seller, nor. to the best of Seller's knO\\ ledge, anyone acting on its behalf. has
taken an} action which could subject the sale of the Transferred Rights to the registration requirements of
Section 5 of the <)ecurities Act of 1933, as amended (the "Securities Act") and the sale of the Transferred
Rights pursuant to and in accordance wid1 this Agreement does not require registration pursuant to the
Securities Act or an} other applicable securities laws. Seller has not offered to sell, or solicited any offers
to bu}. all or an} portion of the Transferred Rights in violation of the Securities Act or any other
applicable securities laws. The Transfen-ed Rights were not offered or sold to the Buyer by any form of


RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 14 of 73
general solicitation or general advertising. Seller acquired the Transfen-ed Rights without a view toward
distribution thereof in \ iolation of the Securities Act or any other applicable securities laws. Seller is not,
and has not been during the period it has owned the Transforred Rights, an "affiliate'' (as such term is
defined in Rule 144(a)(i) promulgated pursuant to the Securities Act) of the Issuer.

         (g)     Seller (i) is a sophisticated investor and has such knowledge and experience in financial
and business mallers as to be capable of evaluating independent!) the merits, risks and suitability of
entering into the Transaction. (ii) has conducted its own analysis and due diligence and independentl}
obtained such information as it deems necessal") in order to make an informed investment decision with
respect to the Transferred Rights. (iii) is able to bear the risks attendant to the Transaction and (iv) is
dealing with Buyer on a professional ann's-lcngth basis and neither Buyer nor any of its affiliates is acting
as a fiduciary or ad\ isor to Seller with respect lo the Transaction.

         (h)      Either (i) no interest in the Transferred Rights is being sold by or on behalf of the
following (collectively. a "Benefit Plan"): (A} an "employee benefit plan" (as defined in the Employee
Retirement Income Security Act of 1974, as amended, and the rules and regulations promulgated under it
r·ERISA..)) that is su~jccl to Title I of ERISA: (B) a "plan·· as defined in Section 4975 of the Internal
Revenue Code of 1986. as amended, and the rules and regulations promulgated under it (the "'Code.. ): or
(C} an:. entit} \\hose assets include (for purposes of l~ RISA 3(41) or otherwise for purposes of Title I of
ERISA or Section 4975 of the Code) the assets of any such ..employee benefit plan" or ··plan·· or (ii) the
transaction exemption set forth in one or more prohibited transaction class exemptions issued by the U.S.
Department of Labor r·PTEs.. ). such as PTE 84-14 (a class exemption for certain transactions determined
by independent qualified professional asset managers). PTE 95-60 (a class exemption for certain
transactions involving insurance company general accounts), PTE 90-1 (a class exemption for certain
transactions involving insurance company pooled separate accounts}, PTE 91-38 (a class exemption for
certain transactions involving bank collective investment funds). and PTE 96-23 (a class exemption for
certain transactions detem1ined by in-house asset managers), is applicable with respect to the sale of the
Transferred Rights pursuant to this Agreement.

          (i)     There is no investment banker. broker. finder, or other intennediary retained b} or
authorized to act on behalf of Seller who might be entitled to any fee or commission from Buyer or any of
its affiliates upon consummation of the Transaction.

        U>       There is no action. lawsuit. arbitration. claim or proceeding pending or, to the best of
Seller's knowledge. threatened , against Seller that could reasonably be expected to (i) impede the
consummation of the rransaction or (ii) materially and adversely affect the Transferred Rights or any
action taken or to be taken by Seller under this Agreement.

       (k)     Seller has complied with. and has perfon11ed, all of its obligations (if any) required to be
complied with or perfonned by it under the Note Purchase Agreement and the other Financing
Documents.

         (I)        The Note Purchase Agreement and the Financing Documents arc the only agreements or
documents setting forth lhc terms of the Transferred Rights and the Issuer's and Seller's respective rights
and obi igations with respect thereto. Seller has not given its consent to change. nor has it waived (except
to the c>.."tent that certain temporal) forbearance armngements that have expired by their terms may have
been deemed to constitute a waiver for the rele\ant forbearance periods), any term or provision with
respect to the Notes, the Note Purchase Agreement or Financing Documents. including. '"'ithout
limitation, with respect to the amount or time of any pa}ment of principal or the rate or time of any
pa} ment of interest.



RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 15 of 73
        (m)      Seller has not received an} payment or other distribution (whether interest. fees or any
other distribution) under or in respect of the Transferred Rights on or since January_, 2018 (the
··Trade Date").

        (n)      Seller has not effected or received, and shall not effect or receive. the benelit of any set-
off against Tssuer on account of the Transferred Rights on or since the Trade Date.

        (o)      Seller has not engaged in any acts or conduct or made an) omissions (including b) \ irtuc
of Seller holding any funds or propert} of. or O\\ ing amounts or property to. Issuer) nor had any
relationship with the Issuer (including. without limitation. being an ..affiliate" or an ··insider·· as defined
in United States BankruptC} Code, as amended. § I 0 I(:!) and § I 0 I(31) respectively}, that\\ ill result in
Buyer receiving proportionate I) less in payments or distributions under. or less favorable treatment
(including the timing of payments or distributions) for, the Transferred Rights than is received by other
holders of notes of the same class or type as the Notes.

         (p)    Seller has not received an} written notice that (i) any payment or other transfer made to
or for the account of Seller from or on account of Issuer or any obligor under the Transferred Rights is or
may be void or voidabk as an actual or constructh·e fraudulent transfer or as a preferential transfer or (ii}
the Transferred Rights, or any portion of them. arc void, voidable. unenforceable or subject to an} claim.
counterclaim. defense or claim or right of set-off. reduction, recoupment, impairment, avoidance,
disallowance or subordination.

         (q)       Seller acknowledges that (i) Buyer currently ma} have, and later may come into
possession of. information with respect to the Transferred Rights that is not known to Seller and that may
be material to a decision to sell the Transferred Rights (..Seller Excluded Information"). (ii) Seller has
determined to sell the I ransferred Rights notwithstanding its lack of kno'v\-ledge of Seller Excluded
Information and (iii) Buyer shall have no liabilit} to Seller and Seller waives and releases any claims that
it might have against Buyer whether under applicable securities laws or othem ise. ,., ith respect to the
nondisclosure of Seller Excluded lnfonuation in connection with the Transaction: provided, howe\er. that
Seller Excluded Information shall not and does not affect the truth or accuracy of Buyer's representations
or \"varranties in this Agreement.

         (r) Seller make!-> no representation as to the amount and collectability of any make-whole
compensation. legal fees or post petition interest with respect to the Notes or other Transferred Rights.
Seller assumes no responsibilit} with respect to (i) any statements, representations or wa1nnties made by
Issuer or any other obligor in the Financing Documents. (ii) the financial condition of the Issuer or an}
other obligor under the Financing Documents, (iii) the collectabilit} or value of the Notes or other
Transferred Rights or (iv) the performance or obscnance by the Issuer or any other obligor their
respective obligations under the Notes and Financing Documents.


3. REPRESENTATIONS Al'll> WARRANTIES OF BUYER

        Buyer represents and wan-ants to Seller as ol'thc Agreement Date and as ol"the Closing Date that:

         {a)      Buyt!r is an entit) duly organized, valid I) existing and in good standing under the laws of
the jurisdiction of its formation.

        (b)     Buyer has all necessaJ) pov.er and authorit} to e:-..ecute. deliver, and perfonn its
obligations under this Agreement and each of the other documents to be executed or delh.ered by Buyer
in connection with this Agreement (collectively. the ··Buyer Transaction Documents") and to consummate



RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 16 of 73
the Transaction. fhe Buyer Transaction Documents have been or will be duly authorized. executed and
delivered by Buyer and constitute legally valid and binding obligations of Buyer. enforceable against
Buyer in accordance\\ ith their respective te1ms. except that such enforceability may be limited by
bankruptcy. insolvenc). reorganization. moratorium or other similar laws affecting the rights of creditors
generally or by general equitable principles.

         (c)      The execution and delivery of the Buyer Tram;action Documents by Buyer. and the
performance by Buyer of its obligations pursuant to the Buyer Transaction Documents, will not (i) result
in a breach or\ iolation of any provision of Buyer's organizational documents. (ii) violate or breach any
statute. law. \Hit. order. rule or regulation of any Governmental Authorit) applicable to Buyer, (iii)
breach or result in default of any judgment. injunction. decree or dctennination of any Governmental
Authority applicable to Buyer or (iv) breach or violate any material agreement to which Buyer is a party
or by which Buyer or any of its properties may be bound.

        (d)     Neither the execution and del ivcry by Buyer of the Buyer Transaction Documents. nor
the performance by Buyer of its obligations pursuant to the Buyer ·1ransaction Documents, requires the
consent. apprO\ al. order or authorization of. or registration with. or the giving or notice to, any
Governmental Aulhorit) or any other person or entity.

         (e)     Buyer (i) is a sophisticated imestor and has such knowledge and experience in financial
and business matters as to be capable of evaluating independent!) the merits, risks and suitability of
entering into the Transaction. (ii) has conducted its own analysis and due diligence and independently.
obtained such information as it deems necessar) in order to make an infonned imestment decision with
respect to the rransferred Rights. (iii) is able to bear the risks attendant to the fransaction and (iv) is
dealing with Seller on a professional arm's-length basis and neither Seller nor an) of its affiliates is acting
as a fiducial) or ad\ isor to Buyer with respect to the Transaction.

         (f)      Bu) er is a "'qualified institutional buyer·· (as defined in Ruic I44A(a)( 1) promulgated
pursuant to the Sccuritic-; Act). Buyer is acquiring the Transferred Rights for its own account and not
with a \ iew LO\\ ard distribution thereof in violation of the Sccurit ies Act or any other securities Jaws.

          (g)     Buyer understands and acknowledges that (i) the Transferred Rights are being offered
and sold to it in reliance on one or more specific exemptions from registration under the Securities Act
and other applicable securities laws. and that Seller is relying in part upon the truth and accuracy of. and
Buyer's compliance with, the representations, warranties and understandings of Buyer set forth in the
Transaction Documents (as defined below) in order to determine the availability of such exemptions and
(ii) the Transferred Rights have not been registered pursuant to the Securities Act or any other applicable
securities laws. and there are restrictions on Buyer's ability to resell the Transferred Rights pursuant to
applicable securities laws and pursuant to the Note Purchase Agreement.

         (h)      Either ( i) no interest in the Transferred Rights is being acquired by. or on behalf of one
or more Benefit Plans or (ii) the transaction exemption set forth in one or more PTl:.s. such as PTE 84-14
(a class exemption for certain transactions determined by independent qualified professional asset
managers). PTE 95-60 (a class exemption for ce11ain transactions involving insurance company general
accounts). PTE 90- I (a class exemption for certain transactions invoh ing insurance company pooled
separate accounts), Pl E 91-38 (a class exemption for certain transactions involving bank collective
investment funds). and PTE 96-23 (a class exemption for ce1tain transactions determined by in-house
asset managers). is applicable \.\ ith respect to the purchase and holding of the Transferred Rights and the
exercise of Buyer's rights with respect to the Transferred Rights or under this Agreement.




RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 17 of 73
          (i)     There i~ no imestment banker. broker. finder. or other intermedial) retained by or
authoriLed to act on behalf of Buyer who might be entitled to an} foe or commission from Seller or any of
its affiliates upon consummation of the Transaction.

       U)      There is no action. lawsuit, arbitration. claim or proceeding pending or, to the best of
Buyer's knO\\ledge, threatened. against Buyer that could reasonably be expected to impede the
consummation of the Transaction.

        (k)      Buyer acknowledges that (i) Seller currently ma) have. and later may come into
possession of, information with respect to the Transferred Rights that is not known to Buyer and that may
be material to a decision to purchase the Transferred Rights ( .. Bll\eL[~xcluded Information"). (ii) Buyer
has determined to purchase the Transferred Rights non..vithstanding its lack of knowledge of the Buyer
Excluded Information and (iii) Seller shall have no liabilit} to Buyer. and Buyer waives and releases any
claims that it might have against Seller, whether under applicable securities laws or otherwise. with
respect to the nondisclosure of the Buyer Excluded Information in connection with the Transaction:
QIQYWe9, however, that the Buyer Excluded Information shall not and does not affect the truth or
accuracy of Seller"s representations or warranties in this Agreement.
         (I)     The consideration given for the purchase by Buyer of the Transfimed Rights may differ
both in kind and in amount from any payments or distributions \\hich Buyer may ultimate!) receive '"'ith
respect to the TransfcrrcJ Rights. and Buyer shall not have an) recourse to Seller for any deficiency.


4. CONDITIONS OF CLOSING

         (a)     The obligation of Seller to transfer the Transferred Rights to Buyer on the Closing Date is
subject to the satisfaction, on or before the Closing Date. of each of the following conditions (any of
,., hich ma) be waived b~ Seller or in part)-and pa) ment of the Purchase Price to Seller as set forth herein:

                    (i)    The representations and warranties of Buyer shall be true and correct in all
         malcrial respects as of Lhe date when made and as of the Closing Date as though made at that
         time (e:-.cept for representations and warranties that speak as of a specific date that shall be true
         and correct as of such specific dale), and Buyer shall have performed, satisfied and complied
         with the covenants, agreements and conditions required by this Agreement to be performed,
         sat is lied or complied ~ iU1 by Buyer at or prior to the Closing Date.

       (b)       The obligation of Buyer to pay the Purchase Price on the Closing Date is subject to the
satisfaction, on or before the Closing Date, of each of the following conditions (any of which may be
waived by Buyer in \\hole or in part):

                    (i)    The representations and warranties of Seller shall be true and correct in aJJ
         material respects as of the date when made and as of the Closing Date as though made at that
         time ( e\.cept for representations and warranties that speak as of a specific date that shall be tn1e
         and correct as of such specific date). and Seller shall ha\!! performed. satisfied and complied
         ,-..ith the covenants. agreements and conditions required by this Agreement lo be performed,
         satisfied or complied with by Seller at or prior to the Closing Date.

5.      DISTRIBUTIONS

        All distribution~. cash, payments. property and proceeds in respect of the Transferred, no matter
the fom1 (collect ivcly. "Distributions'"), "' hether accruing before. on or a ftcr the Trade Date, if and when
paid on or after the Trade Date, are for the account of Buyer without any additional consideration. lf at


RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 18 of 73
any time on or after the Trade Date Seller receivt!s any Distributions. Seller will (a) accept and hold the
Distributions for the account and sole benefit of Buyer. (b) have no equitable or beneficial interest in the
Distributions and (c) promptly deliver the Distributions to Buyer.

6.       VOTING

          On and after the Trade Date. Buyer has sole authority to make. grant and exercise (or refrain from
making. granting and exercising) all votes. \\hether pursuant to amendments. consents. approvals or
\\-aivers. or othern ise to exercise (or refrain from exercising) all other rights and remedies with respect to
the Transferred Rights. If for any reason Seller is entitled to exercise voting power with respect to the
Transferred Rights after the Trade Date. then. to the extent permitted by applicable law. Seller will
exercise such voting power solely in accordance \\. ith the prior written instructions of Buyer, and in the
absence of instruction ~hall abstain from voting.

7. MISCELLANEOUS

        (a)      Each party- agrees to (i) execute and deliver. or cause to be executed and delivered. all
such other and further agreements. documents. deeds. assignments. transfers. conveyances and other
instruments and papt!rs. (ii) take or cause to be taken all such other and further actions and assurances as
the other party may reasonably request, and (iii) cooperate with the other party ·s reasonable requests. in
each case. to effectuate the intent and purposes. and carr> out the terms. of the Seller Transaction
Documents and Buyer Transaction Documents (collectively. the ··Transaction Documents").

         (b)   All representations. warranties. covenants and agreements contained in or made pursuant
to this Agreement shall survive the consummation of the transactions contemplated hereunder.

         (c)     This Agreement shall be governed by and construed in accordance with the internal laws
of the State of Ne\', York (without regard to any conflicts of lav. provision that \\OU Id require the
application of the laws of any other jurisdiction). Each party irrevocably and unconditionall> submits to
and accepts the exclusi\e jurisdiction of the United States District Court for the Southern District of New
York located in the Borough of \1anhattan or the courts of the State of Ne\\ York located in the County of
New York for any al:tion, suit or proceeding arising out of or based upon thjs Agreement or any matter
relating to it. Buyer and Seller waive any o~jection that either one may hnve to the laying of venue in any
such comt or that any such court is an inconvenient forum or do not have personal jurisdiction over Buyer
and Seller.

         (d)      Buyer and Seller agree to bear their own respecti\'e legal and other costs and expenses in
connection v. ith this Agreement and the consummation of the Transaction: provided, hO\vever, that Buyer
and Seller will share equally any transfer fees or transfer costs imposed b) the Issuer or an) other third
party in connection \\ ith the transfer of the Notes from Seller to Buyer.

        (e)     This Agreement shall inure to the benefit of and be binding upon the successors and
permitted assigns of each of the parties. In no event will either party assign or transfer any of its rights or
obligations pursuant lo this Agreement without the express prior written consent of the other party.

         (t)    The 1 ransaction Documents constitute the entire understanding of the parties with respect
to the subject matter thereof. and supersede all prior understandings with respect to the subject matter of
this Agreement.

         (g)     This Agreement ma)' be amended with (and only with) the written consent of Seller and
Buyer.



RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 19 of 73
       (h)      This Agreement may be executed in one or more counterparts, each of which shall be
deemed an original and all of \\hich together shall be considered one and the same agreement.
Transmission b) facsimile or other form of electronic transmission of an executed counterpart of this
Agreement\\ ill be deemed to constitute due and sufficient delivery of such counterpart.

         (i)      An) pro"ision of this Agreement that is prohibited or unenforceable in an) jurisdiction
shall. as to such jurisdiction, be ineffective to the extent of such prohibition or uncnforceability without
 invalidating the remaining provisions hereof, and any such prohibition or uncnforceability in any
jurisdiction shall (to the full extent permitted by la\\) not invalidate or render unenforceable such
 provision in an) other jurisdiction.

         (j)     Each of the pa11ies agrees that v. ithout the prior \Hitten consent of the other party, not to
disclose, and to otherwise keep confidential, the terms of the Transaction, except that any party may
make any such disclosure (i) as required to implement or enforce this Agreement, (ii) if required to do so
by any law. cour1, regulation, subpoena or other legal process, (iii) to any governmental authority or self-
regulatory entit) having or asserting jurisdiction over it. and (iv) if its attorneys advise it that it has a legal
obligation to do so or that failure to do so might result in it incurring a liability to any other entity or
sanctions that may be imposed by any governmental authority: provided however, that the parties may
disclose information regarding the Transaction (x) to their respective affiliates, directors, officers.
employees. agents, ad"isors, counsel. accountants. auditors, limited partners, shareholders and other
interest holders and (y) (other than with respect to the Purchase Price) to the e:x.tent necessary to effect the
Transaction or a subsequent transfer of the Transferred Rights or any portion thereof.

     (k)    EACH PARTY WAJVES ANY RIGHT TO A 'I RIAL BY JURY IN ANY LAWSUIT.
ACTION OR PROCLLDING TO ENFORCE OR DEFEND ANY RIGI 11 UNDER Tl llS AGREEMENT
OR ANY AMENDMC'JT, INSTRUMENT, DOCUMENT OR AGREEMENT DELIVERED OR TO BE
DELIVERED IN CONNECTION WITH THIS AGREEMENT AND AGREES 1 I IAT ANY LAWSUIT.
ACTION OR PROCEFDING WILL BE TRIED BcFORE A COURT A'\JD NOT BEFORE A JURY.



                                            [signature page.follows]




RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 20 of 73
   IN WITNESS WHEREOF, this Purchase Agreement is executed as of the date set fo11h above.


                                   SELLER:

                                   KAFINANZ

                                   B}:
                                   Name:
                                   Title:



                                   BUYER:

                                   HSBC SECURITIES (llSA) INC.




                                   By:
                                   N~m-
                                      e-:   ..., ....~-.-... -{- {t_vr._l"t__PM
                                            ;J                               __/\.--
                                   Title:                      ~ ~              '




RESTRICTED
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 21 of 73
                                   NOTEPURCHASEAGREEMENT

        This Note Purchase Agreement. dated as or August 23. 2017 (this ··Agreement"). is by and
between American General Life Insurance Compan: ("'S_ellcr'') and HSBC Securities (USA) Inc.
r·Buyer··). Capitalized terms used but not defined in this Agreement will have the meanings ascribed to
them in the Note Purchase Agreement (as defined below).

          WHEREAS. Scllcn"'bhes to sell to Bu) er. and Buyer" ishes to purchase from Seller
$5:!. 789.068 in outstanding principal amount of Series A Senior First Lien Secured Notes due Ma) 20.
2027. CUSJP 698491 AAS (the ··Notes'") of Paniolo Cable Company. LLC (the ··issuer") issued pursuant
to that certain Amcndc<l and Restated Note Purchase Agreement. dated as of October I. 2007. among the
Issuer, Deutsche Bank AG. Ne\\ York Branch. Deutsche Bank Trust Company Aml!ricas and the other
parties thereto from time to time (the "'Note Purchase Agreement'') on the terms and subject to the
conditions set forth herein:

        NOW. Tl IFRrrORE. for and in consideration of the premises and mutual covenants and
agreements contained herein. and for other good and valuable consideration. the receipt and sufficiency or
which are hereb) ackmm ledged. the parties <lo hereb) agree as follows:

J.         PURCHASE AND SALE OF THE NOTES

          Upon the terms and subject to the conditions set forth in this Agreement. on the Closing Date (as
defined below). Seller shall sell, transfer. assign and convey the Transferred Rights (as defined belov.) to
Buyer. and. in consideration thereof. Buyer shall pa) to Seller the purchase price (the "'Purchase Price")
on a delivery versus payment basis via the Depositor) Trust Compan) (''OTC'') using the accounts and
instructions set forth on the Schedule to this Agreement. as pa) ment in full for the Transferred Rights..
As used in this Agreement. the ..Closin!! Date" means the date upon v.hich the conditions of closing set
forth in Section 4 hereof have been satisfied or '"ai\ed. As used in this Agreement. the "Transferred
Rights·· means. collectivcl). {a) the Notes and all right. title and interest ol Seller in and to the Notes and
the Note Purchase Agreement. (b) all pa)'ments and distributions in connection with the Notes. whether in
the fonn of principal. interest, premium. lees or othem ise. accruing or relating to any time on or after the
Trade Date (as defined below); (c) all agreements. documents and instruments related to the Notes
(including. without limitation. the Financing Documents (as defined in the Note Purchase Agreement));
(<l) all voting. consent. approval. waiver or other contractual rights Lmdcr the Notes and any related
agreements. documents or instruments; (e) any and all claims (including "claims" as defined in §I 01(5) of
the Bankruptcy Code. 11 U.S.C. §§I 0 I et seq .. as amended). suits. causes of action. and an) other right
of Seller with respect to the Notes. whether knO\\n or unknm-.n. \\.hether arising before. on or after the
Closing Date. against the Issuer. an) of its affiliates. any guarantor. or an) other person or entil) arising
under or in connection "ith the Notes; (I) an) Guarantee, Collateral and security of an} kind for or in
respect of the foregoing; and (gl an} and all proceeds of an} of the foregoing.

2.         REPRESENTATIONS AND WARRANTIES OF SELLER

        Seller represents and warrants to Buyer as of the date or this Agreement (the ""Agreement Date'")
and as of the Closing Date that:

         (a)      Seller is an entit) duly organized. \"alidly existing and in good standing under the la\\s of
the juri<;diction of its fonnation.




~ •i6-5 '5 4 / AGP.153!41623 . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 22 of 73
          (b)      Seller has all neccssar) power and authorit) to execute. deliver. and perform its
 obligations under this Agreement and each of 1he other documents to be executed or delivered b) Seller in
 connection with this Agreement (collective)). the ··seller f'ransaction Documents'") and to consummate
 the transaction contemplated in this Agreemem (the ..Trans_action.. ). The Seller Transaction Documents
 have been or \\ill be duly authori.ted. executed and delivered b) Seller and constitute legally valid and
 binding obligations of Seller. enforceable against Seller in accordance\\ ith their terms. except that such
 enforceabilit;.- ma) be limited b) bankruptcy. insolvenc:r. reorganization. moratorium or other similar
 laws affecting the rights of creditors generall.> or by general equitable principles.

          (c)      The execution and delivery of the Seller rransaction Documents b) Seller. and the
 performance b) Seller of its obligations pur~uant to the Seller Transaction Documents. will not (i) result
 in a breach or violation of an) provision of Seller"s organizational documents. (ii) violate or breach rul)
 statute, Jaw. \Hit. order. rule or regulation of on:r government. governmental agency, authority.
 commission. court or other tribunal (collectively. "Governmental Authority") applicable to Seller. (iii)
 breach or result in default of any judgment. injunction. decree or determination of an) Governmental
 Authority applicoble to Seller. (i') breach or violate an) material agreement to \~hich Seller is a party or
 b.> \Vhich Seller or an) of its properties may be bound or (v) result in a breach or violation of an)
 provisions of the Note Purchase Abrreement. or any other Financing Documents.

           (d)     Seller is the sole record. legal and beneficial O\\ner of the Transferred Rights. has good
 legal and beneficial title to the Transferred Rights and has the full right to transfer the Transferred Rights.
 The Transferred Rights are O\'.ned by Seller free and clear of any lien. pledge, securit) interest. charge.
 hypothecation. security agreement. security arrangement or encumbrance or other adverse claim against
 tille of an} kind (collectively, '"Liens"). Upon delivery of the Transferred Rights to Buyer on the Closing
 Date against payment of the Purchaser Price as contemplated by this Agreement. Seller       '"ill transfer to
 Buyer good and valid legal and beneficial title to the Transferred Rights free and clear of an) and all
 Liens (other than any Liens created b) Buyer upon delivery of the Transferred Rights). Other than
 pursuant to this Agreement or the Seller Transaction Documents. Seller has not sold. conveyed.
 transferred. assigned. participated. pledged or otherwise encumbered the Transforred Rights. in whole or
 in part.

         (e)     Neither the execution and deli\'ery by Seller of the Seller Transaction Documents. nor the
 performance by Seller of its obligations under the Seller I ransaction Documents, requires the consent.
 approval. order or authorization of. or registration with. or the giving or notice to. any Governmental
 Authority or any other person or entity.

          (t)     Neither Seller. nor. to the best of Seller·s knO\\.ledge. an) one acting on its behalf. has
 taken any action \'.hich could subjectthe sale of the Transferred Rights to the registration requirements of
 Section 5 of the Securities Act of 1933. as amended (the '"Securities Ace) and the sale of the Transforre<l
 Rights pursuant to this Agreement does not require registration pursuant to the Securities Act or an) other
 applicable securities laws. Seller has not offered to sell. or solicited an} offers to bu). all or an} portion
 of the Transferred Rights in violation of the Securities Act or an) other applicable securities Jaws. The
 Transferred Rights were not offered or sold to the Buyer b) any fonu of general solicitation or general
 advertising. Seller acquired the Transferred Rights without a view toward distribution thereof in violation
 orthe Securities Act or any other applicable securities laws. Seller is not. and has not been during the
 period it has <mne<l the Transferred Rights. an ··affiliate" (as such term is defined in Rule 144(a)(i)
 promulgated pursuant to the Securities Act) of the Issuer.

         (g)      Seller (i) is a ~ophisticated investor and has such knowledge and experience in finmlcial
 and business matters as to be capable of evaluating independent!) the merits. risks and suitabilit) of
 entering into the Transaction. (ii) has conducted its O\\n analysis and due diligence and independent!)

                                                       2
 561"- 564/ AGR/5391823 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 23 of 73
obtained such information as it deems nccessar: in order Lo make an infom1ed investment decision \\ ith
respect to the Transferred Rights. (iii) is able to bear the risks attendant to the Transaction and (iv) is
dealing with Buyer on a professional arm's-length basis amt neither Buyer nor any of its affiliates is acting
as a fiducial} or advisor to Seller" ith respect to the fransaction.

         (h)     Either (i) no interest in 1he Transferred Rights is being sold by or on behalf of the
following (collectively. a ··Benefit Plan"): (A) an ..employee benelil plan .. (as defined in the Employee
Retirement Income Security Act of 1974. as amended. and the rules and regulations promulgated under it
c·ERISA.')) that is subject to ritle I ofERISA; (B) a ··plan" as defined in Section 4975 of the Internal
Revenue Code of 1986. as amended. and the rules and regulations promulgated under it (the ··code"); or
(C) any entity whose assets include (for purposes of ERISA 3(42) or otherwise for purposes of Title I of
ERISA or Section -1-975 of the Code) the assets of any such "employee benefit plan·· or "plan" or (ii) the
transaction e:\cmption set forth in one or more prohibited transaction class exemptions issued b} the U.S.
Department of Labor ("PTEs"). such as PTE 84-14 (a class exemption for certain transactions determined
by independent qualified professional asset managers). PTL 95-60 (a class exemption for certain
transactions involving insurance company general accounts). PTE 90-1 (a class exemption for certain
transactions inrnl\ing insurance compan} pooled separate accounts). Pl E:. 91-38 (a class exemption for
certain transactions involving bank colh:ctive investment funds). and PTr 96-23 (a class exemption for
certain transactions dctennined by. in-house asset managers). is applicable with respect to the sale of the
Transferred Rights pursuant to Lhis Agreement.

          (i)     There is no investment hanker. broker. finder. or other intermediar} retained by or
authorized to act on behalf of Seller who mighL be entitled to any fee or commission from Buyer or any of
its affiliates upon consummation of the Transaction.

         (j)     There is no action. la\\suit. arbitration. claim or proceeding pending or. to the best of
Seller's kno\\lcdge. threatened. against Seller that could reasonably be expected to (i) impede the
consummation of the Transaction or (ii) materially and adverse!) affect the Transferred Rights or any
action taken or to be taken bj Seller under this Agreement.

       (k)     Seller has complied with. and has performed. aJI of its obligations (if any) required to be
complied with or perfonned by it under Lhe Note Purchase Agreement and the other Financing
Documents.

        (I)     The Note Purchase Agreement and the Financing Documents arc the onl) agreements or
documents setting forth the terms of the l'ransfcrred Rights and the Issuer's and Seller's respective rights
and obligations with respect thereto. Seller has not given its consent to change. nor has it \\aived. any
term or provision \\ ith respect to the Notes. the Note Purcha<;e Agreement or Financing Documents.
including, without limitation.\\ ith respect to the amount or time of any payment of principal or the rate or
time of any payment of interest.

          (m)    Seller has not received any payment or other distribution (\\hether interest. fees or any
other distribution) under or in respect of the Transferred Rights on or since August 2. 20 l 7 (the "Trade
Date.. ).

        (n)      Seller has not effected or received. and shall not effect or receive. the benefit of any set-
off against Issuer on account of the Transferred Rights.

         (o)      Seller has not engaged in an) acts or conduct or made any omissions (including by \'irtue
of Seller holding an)' funds or property ot: or owing amounts or property to. Issuer) nor had any
relationship \\ith the Issuer (including. "ithout limitation. being an ..affiliate.. or an .. insider.. as defined

                                                        3
J~6 -5~ 4 /AGR/5J91823 . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 24 of 73
in United States Bankruptcy Code. as amended. § I0 I (1) and § I0 I(JI) respectively). that will result in
Buyer receiving proportionately less in payments or distributions under. or less favorable treatment
(including the timing of payments or distributions) for. the Transrerred Rights than is received by other
holders of notes of the same class or type as the Notes.

         (p)    Seller has not received any written notice that (i) an) payment or other transfer made to
or for the account of Seller from or on account oflssuer or any obliger under the Transferred Rights is or
may be void or voidable as an actual or constructive fraudulent transfer or as a preferential transfer or (ii)
the Transferred Rights. or any portion of them. are void. voidable. unenforceable or subject to any claim.
counterclaim. defense or claim or right of set-off. reduction. recoupment. impairment. avoidance,
disallowance or subordination.

        (q)      Seller acknowledges that (i) Buyer currently may have. and later may come into
possession of. infonnation with respect to the Transferred Rights that is not known to Seller and that may
be material to a decision to sell the Transferred Rights (""Seller Excluded information"'). (ii) Seller has
determined to sell the Transferred Rights notwithstanding its lack of knowledge of Seller Excluded
Information and (iii) Buyer shall have no liability to Seller and Seller waives and releases any claims that
it might have against Buyer whether under applicable securities laws or otherwise. with respect to the
nondisclosure of Seller Excluded Information in connection with the Transaction; provided. however, that
Seller Excluded Infom1ation shall not and does not affect the truth or accuracy ofBuyer·s representations
or warranties in this Agreement.

      (r) Seller makes no representation as to the amount and collectability of any make-\\ hole
compensation. legal fees or post petition interest with respect to the Notes or other Transferred Rights.


3. REPRESENTATIONS AND WARRANTrES OF BUYER

        Buyer represents and warrants to Seller as of the Agreement Date and as of the Closing Date that:

         (a)     Buyer is an entity duly organized. validly existing and in good standing under the laws of
the jurisdiction of its formation.

        (b)     Buyer has all necessary power and authority to execute. deliver. and perform its
obligations under this Agreement and each of the other documents to be executed or delivered by Buyer
in connection with this Agreement (collectively. the "Buyer Transaction Documents") and to consummate
the Transaction. The Buyer Transaction Documents have been or will be duly authorized, executed and
delivered by Buyer and constitute legally valid and binding obligations of Buyer, enforceable against
Buyer in accordance with their respective terms. except that such enforceability may be limited by
bankruptcy, insolvency. reorganization, moratorium or other similar laws affecting the rights of creditors
generally orb) general equitable principles.

         (c)     The execution and delivery of the Buyer Transaction Documents by Buyer. and the
performance by Buyer of its obligations pursuant to the Buyer Transaction Documents, will not (i) result
in a breach or violation of any provision of Buyer's organizational documents. (ii) violate or breach any
statute. law. writ. order. rule or regulation of any Governmental Authority applicable to Buyer. (iii)
breach or result in default of any judgment. injunction. decree or determination of any Governmental
Authority applicable to Buyer or (iv) breach or violate any material agreement to which Buyer is a party
or by which Buyer or any of its properties may be bound.




                                                      4
506-~04/AGR/5391823 . 2



 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 25 of 73
        (d)     Neither the execution and delivery by Buyer of the Buyer Transaction Documents. nor
the performance by Buyer of its obligations pursuant to the Buyer Transaction Documents. requires the
consent, approval. order or authorization oC or registration with, or the giving of notice to. any
Governmental Authority or an) other person or entity.

         (e)     Buyer ( i) is a sophisticated investor and has such kno\\ ledge and experience in financial
and business matters as to be capable ofe\aluating independent!) the merits. risks and suitabilit) of
entering into the Transaction. (ii) has conducted its O\\n analysis and due diligence and independent!)
obtained such information as it deems necessary in order to make an infonned investment decision \\ith
respect to the Transferred Rights. (iii) is able to bear the risks attendant to the Transaction and (iv) is
dealing with Seller on a professional arm's-length basis and neither Seller nor any of its affiliates is acting
as a fiducial) or advisor to Buyer with respect to the Transaction.

          (f)     Buyer is a "qualified institutional buyer" (as de lined in Rule 144A(a)( I) promulgated
pursuant to the Sccuritics Act). Buyer is acquiring the Transferred Rights for its own account and not
'" ith a vie\\ toward distribution thereof in violation of the Securities Act or any other securities laws.

          (g)     Buyer understands and ackno\\ledges that (i) the Transferred Rights arc being offered
and sold to it in reliance on one or more specific \!'emptions from registration undcr the Securities Act
and other applicable securities la\\S. and that Seller is relying in part upon the truth and accura9 of. and
Buyer's compliance with. the representations. warranties and understandings of Buyer set forth in the
Transaction Documents (as defined below) in order to dctennine the availability of such exemptions and
(ii) the Transferred Rights have not been registered pursuant to the Securities Act or any other applicable
securities laws. and there are restrictions on Buyer's ability to resell the Transferred Rights pursuant to
applicable securities laws and pursuant to the Note Purchase Agreement.

         (h)      Either ( i) no interest in the Transferred Rights is being acquired by or on behalf of one
or more Benefit Plans or (ii) the transaction exemption set forth in one or more PTEs. such a<; PTE 84-14
Ca class exemption for certain transactions detennined by independent qualified professional asset
managers). PTE 95-60 (a class exemption for certain transactions involving insurance company general
accounts). PTE 90-1 (a class exemption for certain transactions involving insurance company pooled
separate accounts). PTE 91-38 (a class exemption for certain transactions involving bank collective
investment funds). and PTE 96-'.!3 (a class exemption for certain transactions determined by in-house
asset managers). is applicable with respect to the purchase and holding of the Transferred Rights and thc
exercise of Buyer's rights v.·ith respect to the Transfcrred Rights or under this Agreement.

          (i)     Then~ is no in\'estment banker. broker. finder. or other intermediary retained by or
authorized to act on behalf of Bu) er'' ho might be entitled to any fee or commic;sion from Seller or any of
its affiliates upon consummation of the Transaction.

       (j)     There is no action. lawsuit. arbitration. claim or proceeding pending or. to the best of
Buyer's knO\\ledge. threatened. against Buyer that could reasonably be expected to impede the
consummation of the Transaction.

         (k)     Buyer acknowledges that (i) Seller currently may have. and later may come into
possession of. information with respect to the Transforred Rights that is not knO\\n to Buyer and that may
be material to a decision to purchase the Transferred Rights (.. Buver Excluded Information.. ). (ii) Buyer
has determined to purchase the Transferred Rights not\\ ithstanding its lack of knO\\ ledge of the Buyer
Excluded Information and (iii) Seller shall have no liability to Buyer. and Buyer \\aivcs and releases any
claims that it might have against Seller. \\hether under applicable securities laws or othernise. ''ith
respect to the nondisclosure of the Buyer Excluded lnfonnation in connection \\ ith the Transaction:

                                                      5
566-5~ 4 / AGR/ 5 3918~3 . 2


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 26 of 73
 provided. however. that the Buyer Excluded Information shall not and does not affect the truth or
 accuracy of Seller's representations or warranties in this Agreemcnl.
         (1) TI1e consideration gi\en for the purchase by Buyer of the I ransferred Rights may differ both in
 kind and in amount from an) payments or distributions \\hich Buyer may ultimate!) receive with respect to
 the Transferred Rights. and Buyer shall not have any recourse to Seller for any deficiency.
          (m) Buyer is full) a" arc that. \\.ith regard to the sale of the Notes and Transferred Rights. Seller
 is relying upon the truth and accuracy of these representations and warranties.
          (n)     Disclosure or any information concerning the Issuer or the Financing Documents is made
 subject to an) confidentiality prO\ isions of the Financing Documents. and Buyer covenants and agrees to
 comply \\ith such confidentiality provisions.

          (o)     Buyer is not a person (either alone or together with others) directly or indirectly
 controlling or controlled by the Issuer or under direct or indirect common control ,.,.ith the Issuer\\ ithin
 lbe meaning of the Act. Buyer is not an affiliate (as such term is defined in Rule 405 promulgated under
 the Act) of the Issuer.




 4 . CONDITIONS OF CLOSING

       (a)        The obligation of Seller to transfer the Transferred Rights to Buyer on the Closing Date is
 subject to the satisfaction. on or before the Closing Date. of each of the following conditions (any of
 which may be waived by Seller in Vvholc or in part):

                  (i)    The representations and \rnrranties or Buyer shall be true and correct in all
          material respects ac; of the date \\hen made and as of th\! Closing Date as though made at that
          time (except for representations and warranties that spcai.. as ofa specific date). and Buyer shall
          have performed. satisfied and complied'" ith the covenants. agreements and conditions required
          by this Agreement to be perfonned. satisfied or complied \\.ith by Buyer at or prior to the
          Closing Date.

                  (ii)   Seller shall have received Buyer's executed assignment and assumption
          agreement in the form as Exhibit I to the Note Purchase Agreement (the ..Assignment and
          Assumption Agreement'") for delivery to the Purchasers· Agent for it acceptance and
          recordation.

        (b)       The obligation of Buyer to pay the Purchase Price on the Closing Date is subject to the
 satisfaction. on or before the Closing Date. of each of the follO\\ing conditions (any of \\hich ma) be
 waived b) Buyer in \\hole or in part):

                  ( i)   The representations and warranties of Seller shall be true and correct in all
          material respects as of the date\\ hen made and as of the Closing Date as though made at that
          time (except for representations and \\arranties that speak as of a specific date). and Seller shall
          have performed, satisfied and complied with the covenants. agreements and conditions required
          b) this Agreement to be perfom1ed. satislied or complied v.ith b~ Seller at or prior to the
          Closing Date.




                                                        6
 566- 564/AGR/5391823 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 27 of 73
                   (ii)  Bu) er shall have received Seller· s executed Assignment and Assumption
          Agreement and the Purchasers' Agent confirmation of its acceptance and recordation of the
          transfer contemplated hereby and thereb).

 5.      DISTRIBUTIONS

          All distributions. cash. pa)1nents. property and proceeds in respect of the Transferred Rights. no
 matter the form (collectively. ··Distributions"), whether accruing before. on or after the Trade Date. if and
 when paid on or after the Trade Date. are for lhc account or Buyer without an) additional consideration.
 If at any time on or after the Trade Date Seller receives an) Distributions. Seller will (a) accept and hold
 the Distributions for the account and sole bt!nefit of Buyer. (b) have no equitable or beneficial interest in
 the Distributions and (c) prompt I) deliver the Distributions to Buyer.

 6.      VOTI NG

         On and after the Trade Date. Buyer ha" .;;ole authority to make. grant and exercise (or refrain from
 making. granting and exercising) all votes. \\.hether pursuant to amendments. consents. approvals or
 waivers. or otherwise to exercise (or refrain from cxercising) all other rights and remedies with respect lO
 the Transforred Rights. If for any reason Seller is entitled to exercise voting power with respect to the
 Transferred Rights after the Trade Date. then. to the ex1ent permitted by applicable law. Seller will
 exercise such voting power solely in accordance \\.ith the prior \Hitten in'\tructions of Buyer.

 7. MISCELLANEOUS

           (a)     Each pru1} agrees to (i) execute and deliver. or cause to be executed and delivered. all
 such other and further agreements. documents. deeds. assignments. transters. conve) ances and other
 instruments and papers. (ii) take or cause to be taken all such other and further actions and assurances as
 the other part) may reasonabl} request, and (iii) cooperate with the other party. in each ca!ie, to effectuate
  the intent and purposes, and carry out the terms, of the Seller I ransaction Documents and Buyer
 ·r ransaction Documents (collectively. the ··Transaction Documents").
          (b)   All representations. warranties. covenants and agreements contained in or made pur~uant
 to this Agreement shall survive the consummation of the transactions contemplated hereunder.

          (c)     This Agreement shaJI be governed b) and construed in accordance \\ith the internal laws
 of the State of Ne\\ Yori-. (\.'.ithout regard to any contlicts of la\\. provision that \\Ould require the
 application of the la\\S of an) other jurisdiction). Each party irrevocably and unconditionall) submits to
 and accepts the exclusive jurisdiction of the United States District Court for the Southern District of Ne\.\
 York located in the Borough of Manhattan or the courts of the State of New York located in the County of
 New York for any action. suit or proceeding arising out or or based upon this Agreement or any matter
 relating to it. Buyer and Seller \\aive any objection that either one may have to the la) ing of venue in any
 such court or that any such court is an inconvenient forum or do not have personal jurisdiction over Buyer
 and Seller.

          (d)      Buyer and Seller agree to bear their own respective legal and other costs and expenses in
 connection '' ith this Agreement and the consummation of the Transaction: provided. however. that Buyer
 and Seller \\ill share equally any transfer fees or transfer costs imposed b~ the Issuer or an~ other third
 part) in connection \\ith the transfer of the Notes !Tom Seller to Buyer.




                                                       7
 S~c-564/hGR/5391823 . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 28 of 73
        (e)     This Agreement shall inure to the benefit of and be binding upon the successors and
permitted assigns of each of the parties. ln no event will either party assign or transfer any of its rights or
obligations pursuant to this Agreement without the express prior written consent of the other party.

         (f)    The Transaction Documents constitute the entire understanding of the parties with respect
to the subject matter thereof. and supersede all prior understandings\\ ith respect to the subject matter of
this Agreement.

         (g)      This Agreement may be amended with (and onl) \\<ith) the written consent of Seller and
Buyer.

       (h)     This Agreement may be executed in one or more counterparts. each of which shall be
deemed an original and all of which together shall be considered one and the same agreement.
Transmission by racsimi le or other form of electronic transmission of an executed counterpart of this
Agreement will be deemed to constitute due and sufficient dclivel) of such counterpart.

         (i)      Any pro\ision of this Agreement that is prohibited or unenforceable in any jurisdiction
shall. as to such jurisdiction. be ineffective to the C.\tcnt of such prohibition or unenforceabilil) without
 invalidating the remaining provisions hereof. and any such prohibition or unenforceabilit} in any
jurisdiction shaJI (to the full extent permitted by law) not invalidate or render unenforceable such
provision in any other jurisdiction.

         G>       Each ol'the parties agrees that. without the prior written consent of the other part). not to
disclose. and to otherwise keep confidential. the terms of the Transaction. except that any party ma)
make any such disclosure (i) as required to implement or enforce this Agreement. (ii) if required to do so
by any law, court. regulation. subpoena or other legal process. (iii) to any governmental authorit) or sel r-
regulatory entity ha\. ing or assertingjurisdiction over il. and (iv) if its attorneys advise it that it has a legal
obligation to do so or that failure to do so might result in it incurring a liabilit; to any other entit) or
sanctions that may he imposed by any governmental authorit); provided ho\\ ever. that the parties may
disclose information regarding the Transaction (x) to their respective affiliates. directors. onicers.
employees. agents. advisors. counsel, accountants. auditors. limited partners. shareholders and other
interest holders and()) (other than with respect to the Purchase Price) lo the extent nccessa1) to effect the
 I ransaction or a subsequent transfer of the Translerrcd Rights or any portion thereor.

     (k)    EACI I PARTY WAIVES ANY RIGI IT TO A TRIAL BY JURY IN ANY LAWSCIT.
ACTION OR PROCEEDING TO ENFORCE OR OFFEND ANY RIGHT UNDER Tl JJS AGREEMENT
OR ANY AMENDME:.NT. INSTRUMENT. DOCUMENT OR AGREI:.MF.NT Df'LIVERED OR TO BC
DELIVERED IN CONNfCTION WITH Tl llS AGRl:.EMEN I AND AGREES THAT ANY LAWSUIT.
ACTION OR PROCfl DING WILL BE TRIED BEFORE A COURT AND NOT BET-ORE A JURY.

        (I)     As between Bu)er and Seller. in the event of an} conflict or inconsistenc} between the
terms of this Agreement and the terms of the Assignment and Assumption Agreement. the terms of this
Agreement shall control and govern.




                                            [signature paJ.:I! .fiJl/mrs]




                                                         8
5C€- 56 4 /AGR/5391823 . ~



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 29 of 73
          IN WI fNESS WHEREOF, this Note Purchase Agreement is executed as of the date set fonb above.


                                            SELLER:

                                            AMERICAN GENERAL LIFE INSURANCE COMPANY

                                            Ry: AIG Asset Management (U.S.), LLC, its investment adviser




                                            Blf\'ER:

                                            HSBC SECURITIES (USA) INC.




                                            By: _ __ __ __ _ _ __
                                            Name:
                                            litle:




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 30 of 73
 I'\\ 11 \I""\\ Ill t<l • 11. 111 •'·•I\. l'w~h.1 \. \.:11.·1. 111.111 I• ... ,~.,111\.,l ,1   11"1. ,1,111.: •1:1111'11.1•• \\.



                                                "' I I I I< ·




                                                lh




                                                HI ' I I{:

                                                II' B< !'- H I IU I II .'- cl .., \I I\ c •




                                                lh
                                                                              (   .
                                                                                  ~


                                                 '\._1111.
                                                 I :l




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 31 of 73
                                 NOTE PURCHASE AGREEMENT


        This Note Purchase Agreement dated as of August 23. 2017 (this "Agn.:cment"), is by and
between Athene Annuity and Lile Company ( f/J.Ja A' iva Annuity and Life Company) c·Seller.. ) and
I !SBC Securities (USA) Inc. ("'Buyer"'). Capitalized terms used but not defined in this Agreement \\ill
have the meanings ascribed to them in the Note Purchase Agreement (as defined below).

         WHEREAS. ~ellcr \\ ishes to sell to Bu) er. and Buyer\\ ishes to purchase from Seller
$24,998.914.00 in outstanding principal amount of Series A Senior First Lien Secured Notes due Ma) 20.
2027, CUSIP 698491 AA5 (the '"Notes.. ) of Paniolo Cable Company. LLC (the ··issuer") issued
pursuant to that certain Amended and Restated Note Purchase Agreement, dated as of October I. 2007.
among the Issuer. Deutsche 13ank AG, New York Branch. Deutsche Bank Trust Company Americas and
the other parties thereto from time to time (the "'Note Purchase Agreement") on the terms and subject to
the conditions set forth herein:

         NOW. fl IERETORE. for and in consideration of the premises and mutual covenants and
agreements contained herein. and for other good and valuable consideration. the receipt and sufficiency of
\\hi ch are hereb) acknow Iedged. the parties do hereby agree as follows:

I.      PURCHASE AND SALE OF THE NOTES

         Upon the terms and subject to the conditions set forth in this Agreement, on the Closing Date (as
delined below). Seller shall sell. transfer. assign and convey the Transferred Rights (as defined below) to
Buyer. and. in consideration thcreo( Buyer shall pay to Seller the purchase price (the .. Purchase Price·")
on a delivery versus payment basis \. ia the Depository Trust Company ("OTC') using the accounts and
instructions set forth on the Schedule to this Agreement. as pa) ment in full for the Transferred Rights..
As used in this Agreement. the ··Closing Date.. means the date upon which the conditions of closing set
forth in Section 4 hereof have been satisfied or waived. As used in this Agreement. the ..Transferred
Rights" means. collectively. (a) the Notes and all right, title and interest of Seller in and to the Notes and
the Note Purchase Agreement. (b) all payments and distributions in connection with the Notes. whether in
the form of principal. interest. premium. fees or otherwise. accruing or relating to any time on or after the
 I rade Date (as defined below); (c) all agreements. documents and instruments related to the Notes
(including,'' ilhout limitation. the Financing Documents (as defined in the Note Purchase Agreement));
(d) all voting. consent. approval. waiver or other contractual rights under the Notes and any related
agreements. documents or instruments; (e) any and all claims (including "claims.. as defined in § 101 (5) or
the Bankruptc) Code. 11 U.S.C. §§I 01 et seq .. as amended). suits. causes of action. and an) other right
of Seller with respect to the Notes. "hether kno\\ n or unkno\\ n. \\ hether arising before. on or after the
Closing Date. against the Issuer. an)' of its affiliates. any guarantor. or an) other person or entit) arising
under or in connection with the l\.Jotes; (fl an) Guarantee. Collateral and security of any kind for or in
respect ofthe foregoing; and (g) an) and all proceeds of any of the foregoing.

2.      REPRESENTATIONS AND WARRANTIES OF SELLER

        Seller represents and warrants to Buyer as of the date of' this Agreement (the "Agreement Date.. )
and as of the Closing Date that:

         (a)     Seller is an entity duly organized. validly existing and in good standing under the laws of
the jurisdiction of its fonnation.




5of- Sf.4/AGR/5391825 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 32 of 73
         (b)     Seller has all necessary power and aulhority lo execute. deliver. and perform its
obligations under this Agreement and each of the other documents to be executed or delivered by Seller in
connection with this Agreement (collectively. the ··Seller Transaction Documents") and to consummate
the transaction contemplated in this Agreement (the .. Transaction.. ). The Seller Transaction Documents
have been or\\ ill be duly authorized. executed and delivered by Seller and constitute legally valid and
binding obligations of Seller. enforceable against Sci ler in accordance with their lenns. except that such
enforceability may be limited by bankruptcy. insolvency. reorgani1.ation, moratorium or other similar
laws affecting the rights of creditors generally or by general equitable principles.

          (c)     The e:-.ecution and deliver) of the Seller Transaction Documents by Seller. and the
perfom1ance b) Seller of its obligations pursuant to the Seller Transaction Documents,'' ill not (i} result
in a breach or violation of any provision of Seller's organizational documents. (ii) violate or breach ai1y
statute, law, writ. order. rule or regulation of an.> government, governmental agency. authority.
commission. court or other tribunal (collectively, "Governmental Authorit"V ··)applicable to Seller. (iii)
breach or result in default of an) judgment. injunction. decree or determination of any Governmental
Authority applicable to Seller,(\) breach or violate an} material agreement to which Seller is a part) or
by v.hich Seller or an) of its properties may be bound or (v) result in a breach or violation of any
provisions of the Note Purchase Agreement. or any other Financing Documents.

          (d)     Seller is the sole record. legal and beneficial owner of the Transferred Rights. has good
legal and beneficial title to the Transferred Rights and has the full right to transfer the Transferred Rights.
The Transferred Rights are owned by Seller free anc.l clear of any lien. pledge. security interest. charge.
hypothecation. security agreement. securit) arrangement or encumbrance or other adverse claim against
title of any kind (collectively... Liens"). L,;pon deli\cry of the Transferred Rights to Buyer on the Closing.
Date against payment of the Purchaser Price as contemplated b} this Agreement. Seller \>viii transfer to
Bu) er good and valid legal and beneficial title to the Transferred Rights free and clear of any and all
Liens (other than any Liens created by Buyer upon delivery of the I ransfcrred Rights). Other than
pursuant to this Agreement or the Seller Transaction Documents. Seller has not sold. conveyed.
transferred, assigned. participated. pledged or othernise encumbered the fransferred Rights. in whole or
in part.

       (e)      Neither the execution and delhel) by Seller of the Seller Transaction Documents. nor the
performance by Seller of its obligations under the Seller Transaction Documents. requires the consent.
approval, order or authorization of. or registration'" ith, or the giving of notice to. any Governmental
Authorit) or any other person or entity.

         (t)     Neither Seller. nor. to the best of ~eller's knowledge. anyone acting on its behalf. has
taken any action \\hich could subject the sale of the Transferred Rights to the registration requirements of
Section 5 of the Securities Act of 1933. as amended (the .. Securities Acf') and the sale of the Transferred
Rights pursuant to this Agreement does not require registration pursuant to the Securities Act or any other
applicable securities laws. Seller has not offered to sell. or solicited any offers to buy. al I or any portion
of the fransferred Rights in violation of the Securities Act or an} other applicable securities laws. The
Transferred Rights were not offered or sold to the Buyer by any form of general solicitation or general
advertising. Seller acquired the Transferred Rights \\ ithout a\ iew toward distribution thereof in violation
of the Securities Act or an) other applicable securities laws. Seller is not. and has not been during the
period it has owned the Transferred Rights, an ..affiliate" (as such term is defined in Rule 144(a)(i)
promulgated pursuant to the Securities Act) of the Issuer.

        (g)      Seller (i) is a sophisticated investor and has such knowledge and experience in financial
and business matters as to be capable of evaluating independent!) the merits. risks and suitability of
entering into the Transaction. (ii) has conducted its O\\.n analysis and due diligence and independently

                                                      2
566- 5€4/AGR/53918!5 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 33 of 73
 obtained such information as it deems necessary in order to make an infom1ed investment decision with
 respect to the Transferred Rights. (iii) is able to bear the risks attendant to the Transaction and (iv) is
 dealing with BU) er on a professional am1's-leng.th basis and neither Buyer nor any of its affiliates is acting
 as a fiducial) or adYisor to Seller with respect to the Transaction.

          (h)     Either (i) no interest in the Transferred Rights is being sold by or on behalf of the
 following (collectively, a "Benefit Plan"): (A) an ..employee benefit plan'" (as defined in the Employee
 Retirement Income Security Act of 1974. as amended. and the rules and regulations promulgated under it
 (.. ERISA")) that is subject to Title I ofERISA; (A) a "plan.. as defined in Section 4975 of the Internal
 ReYenue Code of 1986. as amended. and the rules and regulations promulgated under it (the ··code.. ); or
 (C) any entity \\hose assets include (for purposes of ERISA 3(4:!) or othemise for purposes ofTitk J of
 ERISA or Section 4975 of the Code) the assets of an) such ..emplo}eC benefit plan.. or ··plan" or (ii) the
 transaction exemption set forth in one or more prohibited transaction class exemptions issued by the U.S.
 Department of Labor (''PTEs'"). such as PTE 84-14 (a class exemption for certain transactions determined
 b) independent qualified professional asset managers). PTE 95-60 (a class exemption for certain
 transactions involving insurance company general accounts). PTE 90-1 (a class exemption for certain
 transactions involving insurance company pooled separate accounts). PTE 91-38 (a class exemption for
 certain transactions involving bank collective in\'cstment funds). and PTE 96-23 (a class exemption for
 certain transactions determined by in-house asset managers). is applicable with respect to the sale of the
 Transferred Rights pursuant to this Agreement.

           ( i)    There is no investment banker. broker. finder. or other intermediary retained by or
 authorized to act on behalf of Seller who might be entitled to an~ fee or commission from Buyer or any or
 its aftiliates upon consummation of the Transaction.

          O>      There is no action. la\\ Suit. arbitration. claim or proceeding pending or. to the best of
 Seller's knowledge, threatened. against Seller that could reasonably be expected to (i) impede the
 consummation of the Transaction or (ii} materially and adversely affect the Transferred Rights or any
 action taken or to be taken b) Seller under this Agreement.

        (k)     Seller has complied with. and has perfonned. all of its obligations (if an)) required to be
 complied with or performed by it under the Note Purchase Agreement and the other Financing
 Documents.

         (I)        The Note Purchase Agreement and the Financing Documents are the onl) agreements or
 documents set1ing forth the terms of the Transferred Rights and the Issuer's and Seller·s respective rights
 and obligations \\ith respect thereto. Seller ha.snot given its consent to change. nor has it waived. an)
 term or provision \\ith respect to the Notes. the 'Jote Purchase Agreement or Financing Documents.
 including. ,.. ithout limitation.\\ ith respect to the amount or time of any payment of principal or the rate or
 time of an} payment of intcrest.

           (m)    Seller has not received an) payment or other <.listribution (whether interest. fees or any
 other distribution) under or in respect of the Transferred Rights on or since August 2. :!O 17 (the .. Trade
 Date.. ).

         (n}      Seller has not effected or recchcd. and shall not effect or receive. the benefit of an) set-
 off against Issuer on account of the Transferred Rights.

          (o)      Seller has not engaged in any acts or conduct or mac.le an) omissions (including by 'irtue
 of Seller holding an) funds or proper!} of. or O\\ ing amounts or propet1) to. Issuer) nor had any
 relationship \\ith the Issuer (including, without limitation. being an "affiliate" or an .. insider.. as defined

                                                        3
 566- 564/AGR/5391825 . 2


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 34 of 73
 in United States Bankruptc) Code. as amended.§ I0 I(2) and § I0 I(31) respectively). that \\.ill result in
 Buyer rccci"ing proportionately less in payments or distributions under. or less favorable treatment
 (including the timing of payments or distributions) for. the Transferred Rights than is received by other
 holders of notes of the same dass or type as the Notes.

           (p)     Seller has not received any written notice that (i) any payment or other transfer made to
 or for the account of Seller from or on account or Issuer or any obligor under the Transferred Rights is or
 may be void or voidable as an actual or constructive fraudulent transfer or as a preferential transfer or (ii)
 the 'I ransfcrred Rights. or an) portion of them. arc void. voidable. unenforceable or subject to an) claim.
 counterclaim. defense or claim or right of set-off. reduction. recoupment. impairment. a\·oidance.
 disallowance or subordination.

         (q)      Seller acknO\\.lcdges that (i) Buyer currently may have. and later nwy come into
 possession of. information with respect to tht: Transferred Rights that is not knO\\.n to Seller and that may
 be material to a decision to sell the Transferred Rights ("Seller b:cluded Information''). (ii) Seller has
 determined to sell the Transferred Rights not\\ ithstanding its lack of knowledge of Seller Excluded
 Information and (iii) Buyer shall have no liability to Seller and Seller \\aives and releases any claims that
 it might have against Buyer \\hether under applicable securities laws or othernise. \\ ith respect to the
 nondisclosure of Seller Excluded lnfomlation in connection with the I ransaction: provided. however. that
 Seller Excluded Information shall not and does not affect the truth or accuracy of Buyer's representations
 or warranties in this Agreement.

       (r) Seller makes no representation as to the amount and collectability of any make-whole
 compensation. legal fees or post petition interest \\ ith respect to the Notes or other Transferred Rights.

 3. RE PRESENTATIONS AND WARRANTI ES OF BUYER

         Buyer represents and warrants to Seller ao.; of the Agreement Date and as of the Closing Date that:

          (a)     Buyer is an entity duly organi1ed. \ alidly existing and in good standing under the la\\ s of
 the jurisdiction of its formation.

          (b)     Buyer has all necessary power and authority to C'\ecute. del iver. and perform its
 obligations under this Agreement and each of the other documents to be executed or delivered by Buyer
 in connection with this Agreement (collectively. the .. Buyer Transaction Documents"') and to consummate
 the Transaction. The Buyer Transaction Documents have been or" ill be duly authorized. executed and
 delivered by Buyer and constitute legally valid and binding obligations of Buyer. enforceable against
 Buyer in accordance\', ith their respective tem1s. except that such enforceability may be limited b)
 bankruptcy. insolvency. reorganization. moratorium or other similar lav.s affecting the rights of creditors
 generally or by general equitable principles.

          (c)       The execution and delivery of the Buyer Transaction Documents by Buyer. and the
 performance by Buyer of its obligations pursuant to the Buyer Transaction Documents. will not (i) result
 in a breach or violation of any provision of Buyer's organizational documents. (ii) violate or breach any
 statute. la'"· writ. order. rule or regulation of any Governmental Authorit) applicable to Buyer. (iii)
 breach or result in default of an) judgment. injunction, decree or determination of any Governmental
 Authority applicable to Buyer or (iv) breach or violate any material agreement to which Buyer is a party
 or by '"'hich Buyer or any of its properties muy bl! bound.




                                                       4
 566-5G4/AGR/5391825 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 35 of 73
        (d)     Neither the execution and delivery by Buyer of the Buyer Transaction Documents, nor
the performance b) Buyer of its obligations pursuant to the Buyer Transaction Documents, requires the
consent. approval. order or authorization of. or registration with. or the giving of notice to. an)
Governmental Authority or any other person or entity.

         (c)     Bu)'er (i) is a sophisticated investor and has such !..no\\ ledge and experience in financial
and business mutters as to be capable of evaluating independently the merits. risks and s uitability of
entering into the Transaction. (ii) has conducted its own analysis and due diligence and independent!)
obtained such information as it deems necessar) in order to make an informed investment decision \\ith
respect to the Transferred Rights. (iii) is able to bt:ar the risks attendant to the Transaction and (iv) is
dealing'' ith Seller on a professional arm's-length basis and neither Seller nor an)' of its afliliates is acting
as a fiduciar) or advisor to Buyer"' ith respect to the Transaction.

         ( 1)     Buyer is a "qualified institutional buyer·· (as defined in Ruic I 44A(a)( 1) promulgated
pursuant to the Securities Act). Buyer is acquiring the l'ransferrcd Rights for its O\\n account and not
\\ith a\ ie\\ tO\\ard distribution thereof in violation of the Securities Act or an) other securities laws.

          (g)     Buyer understands and acknov. ledges that ( i) the Transferred Rights arc being offered
and sold toil in reliance on one or more specific exemptions from n:gistration under the Securities Act
and other applicable securities laws. and thal Seller b relying in part upon the truth and accuracy of. and
Buyer's compliance with. the representations. warranties and understandings of Buyer set lorth in the
Transaction Documents cas defined belo\\.) in order to determine the availability of such exemptions and
(ii) the Transferred Rights have not been registered pursuant to Lhc Securities Act or an} other applicable
securities laws. and there are restrictions on Buyer"s abilit) to resell the Transferred Rights pursuant to
applicable securities la\\ S and pursuant to the Note Purchase Agreement.

         (h)      Either (i) no interest in the Transferred Rights is being acquired b) or on behalf of one
or more Benefit Plans or (ii) the transaction exemption set forth in one or more PTEs. such as PTE 84-14
(a class exemption for certain transactions deten11ined by independent qualified professional asset
managers). PTF 95-60 Ca class exemption for Ct!rtain transactions involving insurance company general
accounts). PTE 90-1 (a class exemption for certain transactions involving insurance compan) pooled
separate accounts), PTE 91-38 (a class exemption tt1r certain transactions involving bank collective
investment funds). and PTE 96-23 (a class exemption for certain transactions determined by in-house
asset managers). is applicable with respect to the purchase and holding oflhe Transferred Rights and the
exercise of Buyer·s rights \\ ith respect to the Transferred Rights or under this Agreement.

          (i)     There is no investment banker. broker. finder, or other inlennediary retained by or
authorized to act on behalf of Buyer \\ho might be entitled to any fee or commission from Seller or any of
                                   or
its affiliates upon consummation the Transaction.

       (j)        There is no action. lawsuit, arbitration. claim or proceeding pending or. to the best of
Buyer"s !..no\\ ledge. threatened. against Buyer that could reasonably be expected to impede the
consummation of the Transaction.

         (k)     Buyer acknowledges that (i) Seller currently may ha,·e. and later may come into
possession of. infonnation \\ ith respect to the Transferred Rights that is not kno\m to Buyer and that may
be material to a decision to purchase the Transferred Rights c·Buyer Excluded lnfomrntion''). (ii) Buyer
has determined to purchase the Transferred Rights nolwithstanding its lack of knowledge orthc Buyer
Excluded lnfonnation and (iii) Seller shall have no liability to Buyer. and Buyer waives and releases any
claims that it might have against <;eller. \\ hether under applicable securities laws or othern ise. with
respect to the nondisclos ure of the Buyer Excluded Information in connection wilh the Transaction:


                                                       5
566- 564/AGR/5391825 . 2


 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 36 of 73
 provided. however. that the Buyer Excluded Information shall not and does not affect the truth or
 accurac) of Seller's representations or warranties in this Agreement.
          (I)     The consideration given for the purchase b> Bu) er of the Transferred Rights may differ
 both in kind and in amount from an) payments or distributions \\ hich Buyer ma) ultimate I) receive\\ ith
 respect to the Transferred Rights, and Buyer shall not have any recourse to Seller for any deficient).
          (Ill) Buyer is fully aware that. with regard lo the sale of the Notes and Transforred Rights. Seller
 is relying upon the truth and accuracy of these representations and \\arranties.
         ( n)     Disclosure of an) information concerning the Issuer or the Financing Documents is made
 subject to any confidential it) pro\isions of the Financing Documents. and Buyer covenants and agrees to
 comply \\ ith such confidentiality prO\ isions.

         (o)      Buyer is not a person (either alone or together with others) directly or indirect!)
 controlling or controlled by the Issuer or under direct or indirect common control \\ith the Issuer within
 the meaning of the Act. Buyer is not an affiliate (as such term is defined in Rule 405 promulgated under
 the Act) of the Issuer.




 4. CONDIT IONS OF CLOSJNG

        (a)       The obligation of Seller to transfer the Transferred Rights to Buyer on the Closing Date is
 subject to the satisfaction. on or before the Closing Date. of each of the follov. ing conditions (an~ of
 \\hich may be waived by Seller in whole or in part):

                    (i)   The representations and warranties of Buyer shall be true and correct in all
           material respects as of the date when made and as of the Closing Date as though made at that
           time (except for representations and \\arranties that speal.. as ora specific date). and Buyer shall
           ha\'e perfom1ed. satisfied and complied\\ ith the covenants. agreements and conditions required
           b) this Agreement to be performed. satisfied or complied with b> Bu) er at or prior to the
           Closing Date.

                   (ii)   Sel ler shall have received Buyer's executed assignment and assumption
           agreement in the form as Exhibit I to the Note Purcha-;e Agreement (the .. Assignment and
           Assumption Agreement"') for delivery to the Purchasers· Agent for it acceptance and
           recordation.

        Cb)       The obligation of Buyer to pa) the Purchase Price on the Closing Date is subject to the
 satisfaction. on or before the Closing Dale. or each of the fol lov.dng conditions (any of which may be
 waived b> Buyer in \\hole or in part):

                   (i)    The representations and warranties of Seller shall be true and correct in all
           material respects as of the date when made and as of the Closing Date as though made at that
           time (except for representations and "arranties that speal.. as of a specific date). and Seller shall
           have performed. satisfied and complied \'with the covenants. agreements and conditions required
           by this Agreement to be perfom1ed. satisfied or complied with by Seller at or prior to the
           Closing Date.




                                                        6
 566-~G 4 /A GR /5391825 . 2


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 37 of 73
                    (ii)  Buyer shall have received Seller's executed Assignment and Assumption
           Agreement and the Purchasers· Agent confirmation of its acceptance and recordation of the
           transfer contemplateu hereb) and thereh).

 5.       DISTRIBUTIONS

          Al l distributions. cash. payments. property and proceeds in respect of the Transferred Righl'\, no
 matter the form (collectively. ··Distributions").\\ hcther accruing before. on or after the Trade Date. if and
 \\hen paid on or after the Trade Date. are for the account of Buyer\\ ithout any additional consideration.
 If at an) time on or after the Trade Date Seller receives an) Distributions. Seller will (a) accept and hold
 the Distributions for the account and sole benefit of Buyer. (b) ha\e no equitable or beneficial interest in
 the Distributions and (c) promptly deliver the Distributions to Buyer.

 6.       VOTING

         On and after the 'I rade Date. Buyer has sole authority to make. grant and exercise (or refrain from
 making. granting and exercising) au votes. whether pursuant to amendments. consents. approvals or
 waivers. or otherwise to exercise (or refrain from exercising) all other rights and remedies with respect to
 the Transferred Rights. If for any reason St!l ler is entitled to exercise voting pov. er with respect to the
 Transferred Rights after the Trade Date, then. to the extent permitted by applicable law. Seller will
 exercise such voting power solely in accordance "• ith the prior \Hitten instructions of Buyer.

 7. MISCELLANEOUS

          (a)     Each part) agrees to (ii execute and deliver. or cause to he executed and delivered. all
 such other and further agreements. documents, deeds, assignments. transfors. conveyances and other
 instruments and papers. (ii) take or cause to be taken all such other and rurther actions and assurances a!'i
 the other party may reasonably request. and (iii) cooperate \\ith the other party. in each case. to effectuate
 the intent and purposes. and carry out the terms. of the SelJer Transaction Documents and Buyer
 Transaction Documents (collectively. the ..Transaction Documents.. ).

          (b)   AJI representations. warranties. covenants and agreements contained in or made pursuant
 to this Agreement shall survive the consummation of the transactions contemplated hereunder.

          (c)     This Agreement shall be governed by and construed in accordance v.ith the internal laws
 of the State of Ne\\ York (\\.ithout regard lo any conflicts of la\\ pro\ ision that would require the
 application of the laws of any other jurisdiction). Each party irrevocabl) and unconditionall) submits to
 and accepts the exclusive jurbdiction of the United States District Court for the Southern District of Ne\\.
 York located in the Borough of Manhattan or the courts of the State of Ne\\ Yori,. located in the County of
 New York for any action, suit or proceeding arising out of or based upon this Agreement or any matter
 relating to it. Buyer and Seller waive any objection that either one may have to the laying or venue in any
 such court or that any such court is an inconvenient forum or do not have personal jurisdiction over Buyer
 and Seller.

          (d)      Buyer and Seller agree to bear their O\\ll respective legal and other costs and expenses in
 connection\\ ith this Agreement and the consummation of the Transaction: provided. hO\\Cver. that Buyer
 and Seller v.ill share equally an) transfer fees or transfer costs imposed h~ the Issuer or any other third
 party in connection \vith the transfer of the Notes from Seller to Buyer.




                                                       7
 566-~64/AGR/53~ 1 825 . ~



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 38 of 73
         (e)     Thb Agreement shall inure lo the benefit ofamJ be binding upon the successors and
 permitted assigns of each of the parties. In no e\ent \\.ill either part) assign or transfrr any of its rights or
 obligations pursuant to this Agreement without the express prior written consent of the other party.

          (t)    The Transaction Documents constitute the entire understanding of the parties with respect
 to the subject matter thereof. and supersede all prior understandings with respect to the subject matter of
 this Agreement.

          (g)     This Agreement may be amended with (and only with) the written consent of Seller and
 Buyer.

        (h)      This Agreement ma: be executed in one or more counterparts, each of \\-hich shall be
 deemed an original and all of \\hi ch together shall be considered one and the same agreement.
 Transmission by facsimile or other form of electronic transmission of an executed counterpart of this
 Agreement\\ ill be deemed to constitute due and sufficient delivel) of such counterpart.

          (i)      An) provision of this Agreement that is prohibited or unenforceable in an} jurisdiction
 shall. as to such jurisdiction. be ineffective to the extent or such prohibition or unenforceability without
  invalidating the remaining provisions hereof. and any such prohibition or unenforceability in any
 jurisdiction shall (to the full extent permitted b) law) not invalidate or render unenforceable such
  provision in an) other jurisdiction.



          U)       Each of the parties agrees that. without the prior written consent of the other part). not to
 <lisclose. and to othemise keep confidential. the terms of the Transaction. except that an) part) ma)
 make any such disclosure (i) a_<; required lo implement or enforce this Agreement (ii) if required to do so
 by any lav•. court. regulation. subpoena or other legal process. (iii) to an) governmental authorit) or self-
 regulator) entit) having or asscrtingjurisdiction over it. and (iv) if its attorneys advise it that it has a legal
 obligation to do so or that failure to do so might result in it incurring a liability to any other entity or
 sanctions that ma) be imposed by an) governmental authority: pro\ ided however. that the parties may
 disclose information regarding. the Transaction(:\) to their respective affiliatcc;. director.;, oflicers.
 employees. agents, advisors. counsel. accountants. auditors. limited partners. shareholders and other
 interest holders and (y) (other than with respect to the Purchase Price) to the extent necessary to effect the
 Transaction or a subsequent transfer of the Transferred Rights or any portion thereof.

      (k)    EACH PARTY \\Al\TS ANY RIGHT TO A TRIAL BY JURY IN Al\Y LA wsun.
 ACTION OR PROCEEDING ro ENFORCI· OR DEFEND ANY RIG! IT UNDER Tl llS AGREEMrNT
 OR ANY AMENDMENT. INSTRUMENT. DOCUMENT OR AGREEMENT DELIVERED OR TO BE
 DELIVERED IN CONNECTION WITH l'l llS AGREEMENT AND AG RF ES THAT ANY LAWSUIT.
 ACTION OR PROCEEDING WILL BE fRIED BEFORf A COURl AND NOT BEFORE A JURY.

         {I)     As betv.een Buyer and Seller. in the event or all) conflict or inconsistenC) between the
 terms of this Agreement and the terms of the Assignment and Assumption Agreement. the terms oflhis
 Agreement shall control and govern.

                                            [si~1wt11re page j(J//ows]




                                                         8
 566- 5€4/ AGR/5391825 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 39 of 73
 fN WITNESS WHEREOF, this Note Purchase Agreement is executed as of the date set forth above.


                                   SELLER:

                                   ATHENE ANNUITY AND LIFE COMPANY
                                   (flk/a Aviva Annuity and Life Company)

                                   By: Athene Asset Management, L P., its investment adviser

                                   By: AAM GP Ltd., its general partner



                                   By:
                                   Name:    Rog~
                                   Title: Senior Vice President, Fixed Income




                                   BUYER:

                                   HSBC SECURITIES (USA) INC.




                                   By: ~~~~~~~~~~~~




                                   Name:
                                   Title:




                                             9


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 40 of 73
   ' ' " ' ''""\\111~1111· 1 11 '''•l'111\l1al· \.h:.:11~11 1 1.~,.·.1ll'•l 1                   1
                                                                                                    111 • .i.1~,,·• 1 r 'a"''


                                         ' ' I I I !{ :

                                          '"'~"' '""' 11\ \'\ll l.lfl l (1 ,\ ll' ' " '
                                         11 h   I \\I      ,   \lo Ill\ ,11d I , . : ( •lliJllil\l




                                         "'     \\\'111'lh



                                         ,I>

                                         '·'"'~
                                         I 1th.




                                         UI \ I I<:

                                         ll"IU< ' " l IU Ill~ II 'i \11'\t.




                                                                                         .,
                                         '",,111 c
                                                1         ·;
                                                                    o:i-

                                                               . ....
                                                                               ~


                                                                           \. .... ,
                                                                                     ~
                                                                                          \..

                                                                                          (.

                                          11111.•              11
                                                                           '       ·' I " "··




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 41 of 73
                                 NOTE PURCHASE AGREEMENT


        This Note Purchase Agreement. dated as of August 23. 2017 (this ..Agreement"). is b> and
between CCG Trust Corporation (..Seller") and HSBC Securities (USA) Inc. ("Bul·er''). Capitalized
terms used but not defined in this Agreement \\ill have the meanings ascribed ro them in the Note
Purchase Agreement (as defined bclO\\ ).

          WHEREAS. Seller'' ishes to sell to Buyer, and Buyer wishes to purchase from Seller
$31,969.817.00 in outstanding principal amount of Series A Senior First Lien Secured Notes due Ma> 20.
2027. CUSlP 698491AA5 (the "Notes") of Paniolo Cable Compan)'. LLC (the "Issuer") issued pursuant
to that certain Amended and Restated Note Purchase Agreement. dated as of October I. 2007. among the
Issuer. Deutsche Bank AG, Nev. York Branch. Deutsche Bank Trust Company Americas and the other
parties thereto from time to time (the "Note Purchase Agreement") on the terms and su~jcct to the
conditions set forth herein:

        NOW. THEREFORE. for and in consideration of the premises and mutual covenants and
agreements contained herein. and for other good and valuable consideration. the receipt and sufficiency of
which are hereby acknowledged. the parties do hereb) agree as follows:

1.       PURCHASE AND SALE OF THE NOTES

         Upon the terms and subject to the conditions set forth in this Agreement. on the Closing Date (as
defined belm\ ). Seller shall sell. transfer. assign and conve) the Transferred Rights (as defined belm\) to
Buyer. and. in consideration thereof. Buyer shall pa) to Seller the purchase price (the ·'Purchase Price")
on a delivery versus payment basis via the Depositor) Trust Company (''OTC") using the accounts and
instructions set forth on the Schedule to this Agreement. as pa) ment in full for the Transferred Rights..
As used in this Agreement. the "Closing Date.. means the date upon\\ hich the conditions or closing sci
forth in Section 4 hereof have been satisfied or waived. As used in this Agreement, the ·'Transferred
Rights" means. collectively. (a) the Notes and all right. title and interest of Seller in and to the Notes and
the Note Purchase Agreement. (b) all pa)mcnts and distributions in connection \\ith the Notes. whether in
the form of principal. :ntcrest. premium. fees or othernise. accruing or relating to an) time on or after the
Trade Date (as defined belov.): (c) all agreements. documents and instrw11ents related to the Notes
(including. without limitation. the Financing Documents (as defined in the Note Purchase Agreement)):
(d) all voting. consent. approval. waiver or other contractual rights under the Notes and ru1y related
agreements. documents or instruments: (e) an> and all claims (including "claims·· as defined in §101(5) of
rhe Bankruptcy Code. 11 U.S.C. **I 0 I cl seq .. as amended), suits, causes of action. and an} other right
of Seller with respect to the Notes. whether known or unknown. whether arising before. on or after the
Closing Date. against the Issuer. any of its afliliates. any guarantor. or any other person or entity arising
under or in connection'' ith the Notes: (I) an> Guarantee. Collateral and security of an) kind for or in
respect of the foregoing: and (g) any and all proceeds of any of the foregoing.

2.       REPRESENTA TIOl'iS AND WARRANTIES OF SELLER

        Seller represents and \\arrants to Buyer as ol'the date of this Agreement (the ·'Agreement Date")
and as of the Closing Date that:

         (a)     Seller is an entit> duly organiLed. valid!} existing and in good standing under the laws of
the jurisdiction of its formation.




56~-56 4 /AGR/53919~u . ~



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 42 of 73
         (b)     Seller has all necessary power and authority lo execute. deliver. and perform its
obligations under this Agreement and each of the other documents to be executed or delivered by Seller in
connection with this Agreement (collectively. the ..Seller Transaction Documents'') and to consummate
the transaction contemplated in this Agreement (the ..Transaction.. ). The Seller Transaction Documents
have been or will be duly authorized. executed and delivered by Seller and constitute legal I) valid and
binding obligations of Seller, enforceable against Seller in accordance with their terms. except that such
enforceability may be limited by bankruptcy, insolvency. reorganization. moratorium or other similar
laws affecting the rights of creditors generally or by general equitable principles.

         (c)      The execution and deliver) of the Seller Transaction Documents b) Seller. and the
performance by Seller of its obi igations pursuant to the Seller Transaction Documents. ,., i II not (i) result
in a breach or violation of an) provision of Seller's organizational documents. (ii) violate or breach any
statute. law, \Hit. order. rule or regulation or an) government. governmental agency, authority,
commission, court or other tribunal (colleclivcly, "Governmental Authority") applicable to Seller, (iii)
breach or result in default of an) judgment. i1tjunction, decree or Jetermination of any Governmental
Authority applicable to Seller. (iv) breach or violate any material agreement to ''hich Seller is a part) or
by \\hich Seller or any of its properties may be bound or (v) result in a breach or \iolation of an)
provisions of the Note Purcha-;e Agreement, or any other Financing Documents.

         (d)     Seller is the sole record, legal and beneficial owner of the Transferred Rights, has good
legal and benelicial title to the Transferred Rights and has the full right to transfer the Transferred Rights.
The Transferred Rights are O\\.ned by Seller free and clear of an) lien. pledge. securil) interest. charge.
hypothecation. security agreement. security arrangement or encumbrance or other adverse claim against
title ofany kind (collectively. "Liens"). L pon delivery of the Transforred Rights to Buyer on the Closing
Date against payment of the Purchaser Price as contemplated by this Agreement. Seller \\ill transferto
Buyer good and valid legal and beneficial title to the Transferred Rights free and clear of an) and all
Liens (other than an) Liens created by Buyer upon delivery of the Trnnsferred Rights). Other than
pursuant to this Agreement or the Seller Transaction Documents. l:ieller has not sold. conveyed.
transferred. assigned. participated, pledged or othernise encumbered the Transferred Rights, in "'hole or
in part.

        (e)     Neither the execution and delivery b) Seller of the Seller Transaction Documents. nor the
performance by Seller of its obligations under the Seller Transaction Documents. requires the consent,
approval. order or authorilation of. or registration with. or the giving of notice to. any Governmental
Authority or any other person or entity.

         (f)     Neither Seller. nor. to the best of Sdler"s knm\lcdgc. anyone acting on its behalf. has
taken an) action \\hich could subject the sale of the Transferred Rights to the registration requirement!> of
Section 5 of the Securities Act of 1933. as amended (the .. Securities Acn and the sale of the Transferred
Rights pursuant to this Agreement does not require registration pmsuant to the Securities Act or any other
applicable securities laws. Sci lcr has not offered to sell, or solicited any offers to buy. all or any portion
of the Transferred Rights in violation of the Securities Act or an) other applicable securities laws. The
Transferred Rights were not offered or sold to the Buyer by an) form of general solicitation or general
advertising. Seller acquired the Transferred Rights "ithout a\ ic\'.. toward distribution thereof in \iolation
of the Securities Act or any other applicable securities la\\ s. Seller is not. and has not been during lhe
period it has owned the Transferred Rights, an ..afliliate·· (as such term is defined in Rule 144(a)(i)
promulgated pursuant to the Securities Act) of the Issuer.

        (g)      Seller (i) is a sophisticared investor and has such knowledge and experience in financial
and business matters <l!> to be capable of e\ aluating independently the merits. risks and suitability of
entering into the Transaction. (ii) has conducted its O\\n analysis and due diligence and independently

                                                       2
56~-~64/AGR/5391826 . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 43 of 73
obtained such information as it deems necessary in ortler to make an infom1ed investment decision with
respect to the Transferred Rights. (iii) is able to bear lhe risi...s attendant to the Transaction and (iv) is
tlealing \\ ith Buyer on a professional arm's-length basb and neither Buyer nor an) of its affiliates b acting
as a fiduciary or advisor to Seller\\ ith respect to the Transaction.

          (h)     Either (i) no interest in the I ransferred Rights is bt.:ing sold by or on behalf of the
folio'' ing (collective!). a "Benefit Plan.. ): (A) an "employee benefit plan.. (as defined in the Employee
Retirement Income Security Act of 1974. as amended. anti the rules and regulations promulgated under it
("ERISA"')) that is subject to Title I ofERISA: (B) a ..plan" as defined in Section 4975 of the Internal
Revenue Code of 1986. as amended. aml the rules and regulations promulgated under it (the '"Code"'); or
(C) an) entit) \\hose assets include (for purposes of FRISA 3( 42) or othem ise for purposes of Title I of
ERISA or Section 4975 of the Code) the assets of any such ··employee benefit plan" or .. plan·· or (ii> the
transaction exemption set forth in one or more prohibited transaction class exemptions issued by the l l.S.
Department of Labor ("PTEs'"). such as PTE 84-14 (a class exemption for certain transactions determined
by independent qualified professional asset managers). PTE 95-60 (a class exemption for certain
transactions involving insurance compan) general accounts). PT!:. 90-1 (a class exemption for certain
transactions involving insw·ance company pooled separate accounts). PTE 91-38 (a class exemption for
certain transactions involving bank collective investment funds). anti PTE 96-23 (a class exemption for
certain transactions determined by in-house asset managers). is applicable with respect to the sale of the
Transferred Rights pursuant to this Agreement.

          (i)     There is no investment banker. broker. finder. or other intermediary retained b} or
authorized to act on behalf of Seller 'A-ho might be entitled to an) fee or commission from Buyer or any of
its affiliates upon consummation of the Transaction.

         (j)       There is no action. lawsuit. arbitration. claim or proceeding pending or. to the best or
Seller's kllO\\ ledge. threatened. against Seller that could reasonalil} be expected to (i) impede the
consummation of the Transaction or (ii) materially and adversely affect the Transferred Rights or any
action taken or to be taken by Seller wider this Agreement.

       (k)      Seller has complied with. and has performed. all of its obligations (if any) required to be
complied\\ ith or performed by it under the Nole Purchase Agreement and the other Financing
Documents.

        (I)     The Note Purchase Agreement and the Financing Docwnents are the only agreements or
documents setting forth the temis of the Transferred Rights and the lssuer·s and SeUer·s respective rights
and obligations with respect thereto. Seller has not given its consent to change. nor has it v.aived. an)
term or provision with respect to the Notes, the Note Purchase Agreement or Financing Documents.
including. without limitation. ,.., ith respect lo the an10unt or time of an) payment of principal or the rate or
time of any pa) ment of interest.

          (m)    Seller has not received any payment or other distribution (whether interest, fees or an)
other distribution) under or in respect of the Transferred Rights on or since August 2. 2017 (the "Trade
Date.. ).

        (n)      Seller has not effected or received. and shall not effect or recl!ive. the benefit of any set-
off against Issuer on account or the Transferred Rights.

         (o)     Seller has not engaged in any acts or conduct or made any omissions (inclutling by \irtue
of Seller holding any funds or property of. or owing amounts or prope1ty to. Issuer) nor had any
relationship with the Issuer (including. without limitation. being an "affiliate'· or an ··insider" as defined

                                                       3
566 - 5~~ /AGR/539 1 826 . ~



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 44 of 73
in United States Bankruptcy Code, as amended, § I0 I(2) and § I0 I(3 l) respectively), that will result in
Buyer receiving proportionately less in payments or distributions under, or less favorable treatment
(including the timing of payments or distributions) for. the Transfe1Ted Rights than is received by other
holders of notes of the same class or type as the Notes.

         {p)     Seller has not received any written notice that (i) any payment or other transfer made to
or for the account of Seller from or on account of lssuer or any obi igor under the Transferred Rights is or
may be void or voidable as an actual or constructive fraudulent transfer or as a preferential transfer or {ii)
the Transferred Rights, or any portion of them, are void, voidable, unenforceable or subject to any claim,
counterclaim, defense or claim or right of set-off. reduction, recoupment impairment. avoidance.
disallo\\ance or subordination.

        (q)      Seller acknowledges that (i) Buyer cuncntly may have, and later may come into
possession ot: information with respect to the Transferred Rights that is not known to Seller and that may
be material to a decision to sell the Transferred Rights ("Seller Excluded lnformation''). (ii) Seller has
determined to sell the Transferred Rights notwithstanding its lack of knowledge of Seller Excluded
Information and (iii) Buyer shall have no liability to Seller and Seller waives and releases any claims that
it might have against Buyer whether under applicable securities laws or otherwise, with respect to the
nondisclosure of Seller Excluded Information in connection with the Transaction: provided. however. that
Seller Excluded lnfonnation shall not and docs not affect the truth or accuracy of Buyer· s representations
or warranties in this Agreement.

      (r) Seller makes no representation as to the amount and collectability of any make-whole
compensation, legal fees or post petition interest with respect to the Notes or other Transferred Rights.

3. REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Seller as of the Agreement Date and as of the Closing Date that:

         (a)      Buyer is an entity duly organized. validly existing and in good standing under the laws of
the jurisdiction of its fonnation.

        (b)      Buyer has all necessary power and authority to execute. deliver. and perform its
obligations under this Agreement and each of the other docmnents to be executed or delivered by Buyer
in connection with this Agreement (collectively. the ''Buyer Transaction Documents") and to consummate
the Transaction. The Buyer Transaction Documents have been or will be duly authorized. executed and
delivered by Buyer and constitute legally valid and binding obligations of Buyer. enforceable against
Buyer in accordance with their respective terms. except that such enforceability may be limited by
bankruptcy, insolvency. reorganization. moratorium or other similar laws affecting the rights of creditors
generally or by general equitable principles.

         (c)      The execution and delivery of the Buyer Transaction Documents by Buyer, and the
performance by Buyer of its obligations pursuant to the Buyer Transaction Documents, will not (i) result
in a breach or violation of any provision of Buyer's organizational documents, (ii) violate or breach any
statute, law, writ, order. rule or regulation of any Governmental Authority applicable to Buyer. (iii)
breach or result in default of any judgment, injunction, decree or determination of any Governmental
Authority applicable to Buyer or (iv) breach or violate any material agreement to wllich Buyer is a paii)
or by \\hi ch Buyer or any of its properties may be bound.




                                                      4
566-564/AGR/539ld~6 . 2



 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 45 of 73
         {d)    Neither the execution and deli\ el} by Buyer of the Buyer Transaction Documents. nor
 the performance by Buyer of its obligations pursuant to the Buyer Transaction Documents. requires lhe
 consent. apprmal. order or authorization of. or registration with. or the giving of notice to. any
 Governmental Authority or any other person or entity.

          (c)     Buyer (i) is a sophisticated in\estor and has such knov.Jedge and experience in financial
 and business matters as to be capable of evaluating independently the merits. ris1'.s and suitability or
 entering into the Transaction. (ii l has conducted its O\\.n analysis and due diligence and independently
 obtained such information as it deems necessary in order to maJ,.e un informed investment decision with
 respect to the Transferred Rights. (iii) is able to hear the risks attendant to the I ransaction and (i\) is
 dealing with Seller on a professional arm's-length basis and neither Seller nor any of its affiliates b acting
 as a fiduciary or advisor to Buyer with respect to the rransaction.

         (f)      Buyer is a ·'qualified institutional buyer" <as defined in Rule 1-i4A(a)( I l promulgated
 pursuant to the Securities Act). Buyer is acquiring the Transferred Rights for it!> own account and not
 with a view loward distribution thereof in violalion of the Securities Act or any other securities laws.

           (gl     Buyer understands and ackno\\ ledges that (i) the Transferred Rights are being offered
 and sold to it in reliance on one or more specific exemptions from registration under the Securities Act
 and other applicable securities laws, and that Seller is relying in part upon the truth and accuracy 01: and
 Buyer's compliance with. the representations. warranties and understandings of Buyer set forth in the
 Transaction Documents (as defined belo\\) in order to determine the availability of such exemptions and
 (ii) the Transferred Rights have not been registered pursuant to the Securities Act or any other applicable
 securities laws. and there are restrictions on Buyer" s ability to resell the Transferred Rights pursuant to
 applicable securities laws and pursuant Lo the Note Purchase Agreement.

          (h)      Either (i) no interest in the rransferred Rights is being acquired by or on behalf of one
 or more Benefit Plans or (ii) the transaction exemption set forth in one or more PTEs, such as PTE 8-l-t.i
 (a class exemption for certain transactions detem1ined by independent qualified professional asset
 managers). PTE 95-60 (a class exemption for certain transactions involving insurance company general
 accounts). PTL 90-1 (a class exemption for cenain transactions involving insurance company pooled
 separate accounts). PTE 91-38 (a class exemption for certain transactions involving. bank collective
 investment funds), and PTf 96-13 (a class exemption for certain transactions determined by in-house
 asset managers). is applicable with respect to the purchase and holding of the fransrerred Rights and the
 exercise of Buyer's rights with respect to the Transferred Rights or under this Agreement.

           (i)     There is no investment banker. bro1'.er. finder. or other intermedial} retained by or
 authoriL.ed to act on behalf of Buyer who might be entitled to any fee or commission from Seller or any or
 its affiliates upon consummation of the I ransaction.

        (j)      There is no action. lawsuit. arbitration. claim or proceeding pending or. to the best of
 Buyer"s kno\\ ledge. threatened. against 13uyer that could reasonably be expected to impede the
 consummation of the Transaction.

          (k)       Buyer acknowledges that (i) Seller currently ma) have. and later may come into
 posses~ion of. information with respect to the Transferred Rightc; that is not known to Buyer and that may
 be material to a decision to purchase the Transferred Rights C"Bu)er Excluded Information'"). (ii) Buyer
 has determined to purchase lhe Transferred Rights notwithstanding its lack of knO\\ ledge of' the Buyer
 Excluded Information and (iii) Seller shall have no liability to Buyer, and Buyer \\aives and releases any
 claims that it might have against Seller. whether under applicable securities laws or otherwise. with
 respect to the nondisclosure of the Buyer Excluded Information in connection v, ith the Transaction:

                                                       5
 ~E6- 56 4 / AGR/53S182v . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 46 of 73
provided. however. that the Buyer Excluded Information shall not and does not affect the truth or
accuracy of Seller's representations or warranties in this Agreement.
         (I)     The consideration given for the purchase by Buyer of the Transferred Rights may differ
both in kind and in amount from any payments or distributions which Buyer may ultimate!.> receive\\ ith
respect to the Transferred Rights. and Buyer shall not have any recourse Lo Seller for any deficiency.
         (m) Buyer is fully aware that, \\ith regard to the sale of the Notes and Transferred Rights, Seller
is relying upon the truth and accuracy of these representations and warranties.


         (n)       Disclosure of any information concerning the Issuer or the Financing Documents is made
subject Lo any confidentiality provisions of the Financing Documents. and Buyer covenants and agrees to
com pl.> \\ ith such confidentialit) provisions.

         (o)     Buyer is not a person (either alone or together with others) directly or indirectly
controlling or controlled by the Issuer or under direct or indirect common control \\ ith the Issuer\\ ithin
the meaning of the Act. Buyer is not an affiliate (as such tem1 is detine<l in RuJe 405 promulgated under
the Act) of the Issuer.




4. CONDITIONS OF CLOSING

      (a)        The obligation of Seller to transl~r the Transferred Rights to Buyer on the Closing Date is
subject to the satisfaction. on or before the Closing Date. of each of the following conditions (any of
which may he waived by Seller in whole or in part):

                 ( i)   The representations and \\arranties of Bu) er shall be true and correct in aJJ
         material respects as of the date \\hen made and as of the Closing Date as though made at that
         time (except for representations and \\arranties that speal- as of a specific date). and Bu: er shall
         have performed. satisfied and complied \\ith the covenants. agreements and conditions required
         b) this Agreement to be perfom1ed. satisfied or complied with b) Buyer at or prior lo the
         Closing Date.

                 (ii)   Seller shall hme received Buyer's execute<l assignment and assumption
         agreement in the form as Exhibit F to the Note Purchase Agreement (the ··Assignment and
         Assumption Agreement'") for delivery to the Purchasers· .\gent for it acceptance and
         recordation.

       (b)       The obligation of Buyer to pay the Purchase Price on the Closing Date is subject to the
satisfaction. on or before the Closing Date. of each of the folio\\ ing conditions (any of which may be
waived by Bu) er in \\hole or in part):

                 (i}    The representations and \\arranties of Seller shall be true and correct in all
         material respects as of the date ,.,hen made and as of the Closing Date as though made at that
         time (except for representations and warranties that speal- as of a speci fie dale), and Seller shall
         have performed, satisfied and complied with the covenants. agreements and conditions required
         by this Agreement to be performe<l. satisfied or complied \\ith by Seller at or prior to the
         Closing Date.



                                                      6
566-51-4/AGR/539 1826 . 2

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 47 of 73
                  (ii)  Buyer shall have received Seller's executed Assignment and Assumption
         Agreement and the Purchasers' Agent confirmation of its acceptance and recordation of the
         transfer contemplated hereby and thereby.

5.      DISTRIBUTIONS

         All distributions. cash. payments. propcrt) and proceeds in respect of the TransferTed Rights. no
matter the form (collectively, "Distributions"), whether accruing before. on or after the Trade Date. if and
when paid on or after the Trade Date, are for the account of Buyer without any additional consideration.
If at any time on or after the Trade Date Seller receives any Distributions. Seller will (a) accept and hold
the Distributions for the account and sole benefit of Buyer, (b) have no equitable or beneficial interest in
the Distributions and (c) promptl) deliver the Distributions to Buyer.

6.      VOTING

        On and after the Trade Date. Buyer has sole authority to make, grant and exercise (or refrain from
making, granting and exercising) all votes. whether pursuant to amendments. consents. approvals or
waivers. or otherwise to exercise (or refrain from exercising) all other rights and remedies with respect to
the Transferred Rights. If for any reason Seller is entitled to exercise voting power with respect to the
Transferred Rights after the Trade Date. then. to the extent permitted by applicable law. Seller v. ill
exercise such voting power solely in accordance v.ith the prior written instructions of Buyer.

7. MISCELLANEOUS

         (a)     Each party agrees to (i) execute and deliver. or cause to be executed and deliYered, all
such other and further agreements, documents. deeds. assignments. transfers. conveyances and other
instruments and papers, (ii) take or cause to be taken all such other and further actions and assurances as
the other party may reasonably request, and (iii) cooperate with the other party, in each case. to effectuate
the intent and purposes. and carry out the terms, of the Seller Transact ion Documents and Buyer
Transaction Documents (collectivel), the ..Transaction Documents'').

         (b)   All representations. warranties. covenants and agreements contained in or made pursuant
to this Agreement shall survive the consummation of the transactions contemplated hereunder.

         (c)     This Agreement shall be governed by and construed in accordance v. ith the internal laws
of the State of New York (without regard to any conflicts of law provision that would require the
application of the laws of any other jurisdiction). Each party irrevocably and unconditionally submits to
and accepts the exclusive jurisdiction of the United States District Court fonhe Southern District of New
York located in the Borough of Manhattan or the courts of the State of New York located in the County of
New York for any action. suit or proceeding arising out of or based upon this Agreement or any matter
relating to it. Buyer and Seller \\aive an} objection that either one may have to the laying of venue in any
such court or that any such co mt is an inconvenient forum or do not have personal jurisdiction over Buyer
and Seller.

         (d)     Buyer and Seller agree to bear their own respective legal and other costs and expenses in
connection with this Agreement and the consummation of the Transaction; provided. however. that Buyer
and Seller will share equally any transfer fees or transfer costs imposed by the lssuer or any other third
party in connection with the transfer of the Noles from Seller to Buyer.




                                                     7
566-5b4 /AGR/5391826 . 2


 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 48 of 73
         (e)     This Agreement shall inure to the benefit or and be binding upon the successors and
 permitted assigns of each of the pru1ies. In no event will either part) assign or transfer any of its rights or
 obligations pursuant to this Agreement without the express prior \\Titten consent of the other part).

           (t)    I'he Transaction Documents constitute the entire understanding of the parties \\ith re::;pect
 lo the subject matter thereof. and supersede all prior understandings with respect to the subject matter of
 this Agreement.

           (g)       This Agreement may be amended \\ith (and on!) \\ith) the ~ritten consent of Seller and
 Buyer.

        (h)      This Agreement may be executed in one or more counterparts. each of v. hich shall be
 deemed an original and all ol \\hich together shall be considered one and the same agreement.
 Transmission by facsimile or other form of electronic transmic;sion of an executed counterpart of this
 Agreement'' ill be deemed to constitute due and sufficient deli\ery of such counterpart.

          (i)      An) pro\ision of this Agreement that is prohibited or unenforceable in any jurisdiction
 shall. as to such jurisdiction. he ineffective to the extent of such prohibition or uncnforceabilil) \\ ithout
 invalidating the remaining provisions hereof. and any such prohibition or unenforceability in any
 jurisdiction shall (to the full extent permitted by la\\) not invalidate or render unenforceable such
 provision in any other jurisdiction.



          (j)      Each of the parties agrees that. without the prior written consent of the other party. not to
 disclose. and to othern ise keep confidential. the terms of the Transaction. except that any party may
 make any such disclosure ( i) as required to implement or enforce this Agreement. (ii) if required to do so
 by any la''· court. regulation. subpoena or other legal process. (iii) to any governmental authorit) or sclf-
 rcgulatof) entity having or assertingjurisdiction O\er it. and (iv) if its attorneys advise it that it has a legal
 obligation to do so or that failure to do so might result in it incurring a liability to any other entit> or
 sanctions that may be imposed by any governmental authority: provided however. that the parties may
 disclose information regarding the Transaction (x) to their respective affiliates. directors, ollicers.
 employees. agents. advisors. counse1. accountants. auditors. limited partners. shareholders and other
 interest holders and (y) (other than '' ith respect to the PLLrchase Price) to the extent necessar) to effect the
 Transaction or a subsequent transfer of the Transferred Rights or any portion thereof.

      (k)    EACJI PARTY WAIVES A'IY RIGHT TO A TRIAL BY JURY £N ANY LAWSLI L
 ACTION OR PROCFfDING TO ENFORCI:. OR DEFEND ANY RIGHT UNDER THIS AGREEMfNT
 OR ANY AMENDMENT. INSl RUMENT, DOCUMl:.'IT OR AGREFMENT DELIYERl:.D OR TO BE
 DELIVERED IN CONNECTION WITH fHIS AGR£·EMENT AND AGREES THAT ANY LAWSUIT.
 ACTION OR PROCEEDING Vtr ILL BE TRIED BEFORE A COURT AND NOT BEl·ORl:. A JURY.

           (I)      As between Buyer and Seller. in the event of any: conflict or inconsistency between the
           terms of this Agreement and the terms or the Assignment and Assumption Agreement. the tem1s
           of this Agreement shall control and govern.




                                                         8
 ~66 - 56 4 / AG~ /53918~~ . 2



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 49 of 73
 lN WITNESS WHEREOF. this Note Purchase Agreement is executed as of the date set forth above.


                                   SELLER:

                                   CCG TRUST CORPORATION




                                   Bv:
                                          t
                                                  -£
                                                  .
                                   N~111e: A~~oy1Tereschenko
                                   Title: M~ing Director




                                   BUYER:

                                   HSBC SECURITlES (USA) INC.




                                   By: ~~~~~~~~~~~~
                                   Name:
                                   Title:




                                              9


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 50 of 73
                             ' ' I I I I~:




                             ll~IH ~re           l IHI II" , , ... \t I '\C •




                              ..1111 ..
                                ·1~       '' l       •   <




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 51 of 73
                                                                                  EXF.Cl TION COPY

                                      PURCHASE AGREEMENT

        TI1is Purchase Agreement, dated as of September 14, 2017 (this "Agreement"), is by and among
Deutsche Bank AG. London Branch ("DBAGL''). Deutsche Bank AG. New York Branch ("DBAGNY-',
and collectively with DBAGL. "Seller"") and HSBC Securities (USA) Inc. ("'Buyer"). Capitalized tenns
used but not defined in this Agreement '"ill have the meanings ascribed to them in the Note Purchase
Agreement (as defined belo'" ).

          WHEREAS. Seller wishes to sell to Bu) er. and Buyer \\>ishes to purchase from DBAGL
outstanding principal amount of Series A Senior First Lien Secured Notes \\ith an original face amount of
$59.932.094 due Ma) 20. 2027. CUSIP 698491 AA5 (the "Series A Notes") of Paniolo Cable Compan).
LLC (the "Issuer") and $28,845.566 in outstanding principal amount or Series B Second Lien Secured
Notes due May 20. 2027. CUSJP 698491 AB3 of the Issuer (the "Series B Notes"), and to purchase from
DBAGNY $643.416 in principal amount of Series C Subordinated Unsecured Notes. CUSIP 698491 AC I
of the Issuer (the "Series C Notes". and collectivel) with the Series A Notes and the Series B Notes. the
··Notes") all issueJ pursuant to that certain Amended and Restated Note Purchase Agreement. dated a<> of
October I. 2007. among the Issuer. Deutsche Bani. AG. Ne\\ York Branch. Deutsche Bank Trust
Compan) Americas and the other parties thereto from time to time (the "Note Purchase Agreement") on
the terms and subject to the conditions set forth herein;

          NOW, THERf-'FORE. for and in consideration of the premises and mutual covenants and
agreements contained herein. and for other good and valuable consideration. the receipt and sufficiency of
"' hich are hereby acknowledged. the parties do hereby agree as follows:

1.       PURCHASE AND SALE OF THE NOTES

           Upon the terms and su~ject to the conditions set forth in this Agreement, on the Closing Date (as
defined belO\\. ). Seller shall sell. transfer. assign and convey the Transferred Rights (as defined belm\.) to
Buyer. and. in consideration thereof. Buyer shall pa) to Seller the purchase price (the "Purchase Price")
on a delivery versus pa)ment basis via the Depositor) Trust Company ("OTC") \\ith respect to the Series
A Notes and Series B Notes. and in each case using the accounts and instructions set forth on the
Schedule to this Agreement, as pa) ment in full for the Transferred Rights. The parties acknowledge and
agree that an affiliate of Seller. Deutsche Bank Trust Company Americas ("DBTCA ").serves as
Purchasers· Agent, Registrar, Paying Agent, Collateral Agent and Securities Intermediary for the Notes.
and nothing in this Agreement shall impact those roles or the rights of DB TC A under the Note Purchase
Agreement or any of the Financing Agreements. All references herein to Seller shall refer solel) to
DBAGL or DBAGNY. as applicable. and not to DBTCA. As used in this Agreement. the ..Closing Date"
means the date upon "hi ch the conditions of closing set forth in Section 4 hereof have been ..atisfied or
waived. As used in this Agreement. the "Transferred Rights" means. collectively. (a) the Notes and all
right. title and interest of Seller in and to the Notes and the Note Purchase Agreement. (b) all payments
and distributions in connection\\ ith the Notes, \\.hether in the form of principal. interest premium. fees or
otherwise. accruing or relating to any time on or after the rrade Date (as defined below), which. for the
avoidance of doubt will include any interest accrued and unpaid as of the Trade Date. but exclude any
rights to professional foes of Seller or its affiliates that may be paid or reimbursed after the Trade Date:
(c) all agreements. documents and instruments entered into by Issuer or Seller related to the Notes
(including. without limitation, the Financing Documents (as defined in the Note Purchase Agreement)):
<d) all of Seller's voting. consent. approval. waiver or other contractual rights under the Notes and at1)
related agreements. documents or instruments: (c) an) and all claims (including ..claims" as defined in
§I 01(5) of the BankruptC) Code. 11 U.S.C. §§IO I ct seq .. as ainended), suits. causes of action. and an)
other right of Seller\\ ith respect to the Notes. whether !.:no\\ n or unknown. whether arising before. on or


sr,r.-590/AGR/5 405560 . l

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 52 of 73
after the Closing Date, against the Issuer. any of its affiliates. any guarantor, or any other person or entity
arising under or in connection with the Notes; (f) any of Seller's rights under any Guarantee. Collateral
and security of any kind for or in respect of the foregoing: and (g) Seller"s rights to any and all proceeds
of any of the foregoing. The sale of the Transferred Rights shall be without recourse to Seller and except
as expressly set forth herein. without representation or warranty b: Seller.


2.      REPRESENTATIONS ANO WARRANTrES OF SELLER

         Seller (it being understood that representations as to the Series A Notes and Series B Notes and
related Transferred Rights are made by DBAGL. and representations as to the Series C Notes and related
Transferred Rights are made by DBAGNY) represents and warrants to Buyer as of the date of this
Agreement (the "Agreement Date") and as of the Closing Date that:

         (a)      Seller is an entity duly organized. validly existing and in good standing under the laws of
the jurisdiction of its formation.

         (b)     Seller has all necessary power and authority to execute. deliver. and perform its
obi igations under this Agreement and each of the other documents to be executed or delivered by Seller in
connection with this Agreement (collectively, the .. Seller Transaction Documents..) and to consummate
the transaction contemplated in this Agreement (the "Transaction'"). The Seller Transaction Docwnents
have been or will be duly authorized. executed and delivered by Seller and constitute legally valid and
binding obligations of Seller. enforceable against Seller in accordance with their terms. except that such
enforceability may be limited by bankruptcy. insolvency. reorganization, moratorium or other similar
laws affecting the rights of creditors generally or by general equitable principles.

         (c)     The e:-..ecution and delivery of the Seller Transaction Documents by Seller, and the
performance by Seller of its obligations pursuant to the Seller Transaction Documents. will not (i) resull
in a breach or violation of any provision of Seller's organizational documents, (ii) violate or breach any
statute. law. writ. order. rule or regulation of any government. governmental agency, authority.
commission, court or other tribunal (collectively. ··Governmental Authoritv'') applicable to Seller. (iii)
breach or result in default of any judgment, i11junction, decree or determination of any Governmental
Authority applicable to Seller. (iv) breach or violate any material agreement to which Seller is a pait) or
by which Seller or any of its properties may be bound or (v) result in a breach or violation of any
provisions of the Note Purchase Agreement, or any other Financing Docwnents.

          (d)      Seller is the sole legal and beneficial owner of the Transferred Rights. has good legal and
beneficial title to the Transferred Rights and has the full right lo transfer the Transferred Rights. The
Transferred Rights are owned by Seller free and clear of any lien. pledge, security interest. charge.
hypothecation. security agreement. security arrangement or encumbrance or other adverse claim against
title of any kind (collectively, ··Liens"'). Upon delivery of the Transferred Rights to Buyer on the Closing
Date against payment of the Purchaser Price as contemplated by this Agreement. Seller will transfer to
Buyer good and valid legal and beneficial title to the Transferred R.ights free and clear of any and all
Liens (other than any Liens created by Buyer upon delivery of the Transferred Rights). Other than
pursuant to this Agreement or the Seller Transaction Documents. Seller has not sold. conveyed.
transforred. assigned. participated, pledged or otherwise encumbered the Transferred Rights, in whole or
in part.

       (e)     Neither the execution and deliver) b) Seller or the Seller Transaction Documents, nor the
performance by Seller of its obligations under the Seller Transaction Documents, requires the consent.




                                                       2
566-590/AGR/5 4 05560 . 1


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 53 of 73
approval. order or authorization of. or registration with, or the giving of notice to. any Governmental
Authority or any other person or entity.

         (i)     Neither SelJer, nor. to the best of SelJer's knowledge. anyone acting on its behalt~ has
taken any action which could subject the sale of the Transferred Rights to the registration requirements of
Section 5 of the Securities Act of 1933. as amended (the "Securities Act'') and the sale of the Transferred
Rights pursuant to this Agreement does not require registration pursuant to the Securities Act or any other
applicable securities laws. Seller has not offered to sell. or solicited any offers to buy. all or any portion
of the Transferred Rights in violation or the Securities Act or any other applicable securities laws. The
Transferred Rights were not offered or sold to the Buyer by any form of general solicitation or general
advertising. Seller acquired the Transferred Rights without a vie\Y toward distribution thereof in violation
of the Securities Act or any other applicable securities laws. Seller is not, and has not been during the
period it has owned the Transferred Rights. an ··affiliate'" (as such term is defined in Rule 144( a)(i)
promulgated pursuant to the Securities Act) of the Issuer.

         (g)     Seller (i) is a sophisticated inveslor and has such knowledge and experience in financial
and business matters as to be capable of evaluating independently the merits, risks and suitability of
entering into the Transaction, (ii) has conducted its own analysis and due diligence and independently
obtained such information as it deems necessary in order to make an informed investment decision with
respect to the Transferred Rights, (iii) is able to bear the risks attendant to the Transaction and (iv) is
dealing with Buyer on a professional ann's-leni:.>th basis and neither Buyer nor any of its affiliates is acting
as a fiduciary or advisor to Seller with respect to the Transaction.

          (h)     Either (i) no interest in the Transferred Rights is being sold by or on behal r of the
 following (collectively. a "Benefit Plan··): (A) an "employee benefit plan.. (as defined in the Employee
 Retirement Income Security Act of 1974. as amended. and the rules and regulations promulgated Lmder it
(''ERJSA "))that is subject to Title l of ERlSA; (8) a ''plan.. as defined in Section 4975 of the Internal
Revenue Code of 1986. as amended. and the rules and regulations promulgated under it (the ·•code..): or
(C) any entity whose assets include (for purposes of ERISA 3(42) or otherwise for purposes of Title I of
 ERISA or Section -J.975 of the Code) the assets of any such ··employee benefit plan.. or "plan"' or (ii) the
transaction exemption set forth in one or more prohibited transaction class exemptions issued by the U.S.
Department of Labor ( .. PTEs"'), such as PTE 84-14 (a class exemption for certain transactions determined
by independent qualified professional asset managers). PTE 95-60 (a class exemption for certain
t ransactions involving insurance company general accounts), PTE 90-1 (a class exemption for certain
lransactions involving insurance company pooled separate accounts), PTE 91-38 (a class exemption for
certain transactions involving bank coUective investment funds). and PTE 96-23 (a class exemption for
certain transactions determined by in-house asset managers). is applicable with respect to the saJe of the
Transferred Rights pursuant to this Agreement.

          (i)     There is no investment banker. broker. finder. or other intermediary retained by or
authorized to act on behalf of Seller who might be entitled to any Jee or commission from Buyer or any of
its affiliates upon consummation of the Transaction.

         U)      There is no action. lawsuit, arbitration. claim or proceeding pending or. to the best of
Seller's knowledge, threatened. against Seller that could reasonably be expected to (i) impede the
consummation of the Transaction or (ii) materially and adverse!} affect lhe Transferred Rights or an)
action taken or to be taken by Seller under this Agreement.

       (k)     Seller has complied with, and has performed, all of its obligations (if any) required to be
complied with or performed by it under the Note Purchase Agreement and the other Financing
Documents.


                                                      3
56~·590/AGR /5 4 05560 .1



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 54 of 73
         (I)     The Note Purchase Agreement and the Pinancing Documents are the only agreements or
documents setting forth the terms of the Transferred Rights and the Issuer's and Seller"s respective rights
and obligations with respect thereto. Seller has not given its consent to change, nor has it waived (except
to the extent that certain temporaJ)' forbearance arrangements that have expired by their tenns may have
been deemed to constitute a waiver for the relevant forbearance periods). any tenn or provision with
respect to the Notes. the Note Purchase Agreement or Financing Documents. including, without
limitation. with respect to the amount or time of any payment of principal or the rate or time of any
payment of interest.

        (m)      Seller has not received any payment or other distribution (whether interest, fees or any
other distribution) under or in respect of the Transferred Rights 011 or since September __. 2017 (the
"Trade Date").

        (n)      Seller has not effected or received. and shall not effect or receive, the benefit of any set-
off against Issuer on account of the Transferred Rights 011 or since the Trade Date.

         (o)     Seller has not engaged in any acts or conduct or made any omissions (including by vim1e
of Seller holding any funds or property of. or owing amounts or properly to. Issuer) nor had any
relationship with the Issuer (including, without limitation, being an '"affiliate" or an "insider" as defined
in United States Bankruptcy Code, as amended. § I 0 l (2) and § l 01(31) respectively). that wil I result in
Buyer receiving proportionately less in payments or distributions under, or less favorable treatment
(including the timing of payments or distributions) for, the Transferred Rights than is received by other
holders of notes of the same class or type as the Notes.

         (p)    Seller has not received an) written notice that (i) any payment or other transfer made to
or for the account of Seller from or on account of Issuer or any obligor under the Transferred Rights is or
may be void or voidable as an actual or constructive fraudulent transfer or a5 a preferential transfer or (ii)
the Transferred Rights. or any portion of them. are void. voidable. unenforceable or subject to any claim,
counterclaim. defense or claim or right of set-off, reduction, recoupment, impainnent. avoidance,
disallowance or subordination.

         (q)     Seller acknowledges that (i) Buyer currently may have. and later may come into
possession of. information with respect to the Transferred Rights that is not known to Seller and that may
be material to a decision to sell the Transferred Rights (''Seller Excluded Information''), (ii) Seller has
determined to sell the Transferred Rights notwithstanding its Jack of knowledge of Seller Excluded
Information and (iii) Buyer shall have no liability to Seller and Seller waives and releases any claims that
it might have against Buyer whether Lmder applicable securities laws or otherwise. with respect to the
nondisclosure of Seller Exel uded Information in connection with the Transaction: provided, however. that
Seller Excluded Information shall not and do~s not affect the truth or accuracy of Buyer"s representations
or warranties in this Agreement.

         (r) Seller makes no representation as to the amount and collectability of any make-v.hole
compensation. legal fees or post petition interest with respect to the Notes or other Transferred Rights.
Seller assumes no responsibility with respect to (i) any statements. representations or warranties made b)
Issuer or any other obligor in the Financing Documents. (ii) the financial condition of the Issuer or any
other obligor under the Financing Documents. (iii) the collectability or value of the Notes or other
Transferred Rights or (iv) the performance or observance by the Issuer or any other obligor of their
respective obligations under the Notes and Pinancing Documents.




                                                      4
5~ 6-590/AGR/54055~0 .l



U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 55 of 73
3. REPRESENTATIONS AND WARRANTIES OF BUYER

         Buyer represents and warrants to Seller as of the Agreement Date and as of the Closing Date that:

         (a)     Buyer is an entit> dul> organized. validl) existing and in good standing under the laws or
lhe jurisdiction of its formation.

        (b)      Buyer has all necessary power and authorit) Lo c\.ecute. deliver. and perform its
obligations under this Agreement and each of the other documents to be executed or delivered b) Buyer
in connection \\ith this Agreement (collective!). the ··suver Transaction Documents.. ) and to consummate
the Transaction. The Bu) er Transaction Documents have been or will be dul} authorized. executed and
delivered b) Buyer and constitute legaJI) valid and binding obligations of Buyer, enforceable against
Buyer in accordance with their respective terms. except that such enforceability may be limited by
ban~ruptcy. insolvency, reorganization. moratorium or other similar laws affecting the rights of creditors
generall) orb) general equitable principles.

         (c)      The execution and delivery of the Bu) er Transaction Documents b) Buyer. and the
performance b) Buyer of its obligations pursuant to the Buyer Transaction Documents. will not (i) result
in a breach or violation of any provision of Buyer"s organizational documents, (ii) violate or breach aJ1)
statute. law. \Hit. order. rule or regulation of an) Governmental Authority applicable to Buyer. (iii)
breach or result in default of any judgment. injunction. decree or determination of any Governmental
Authorit) applicable to Buyer or (iv) breach or" iolate any material agreement to \\hich Buyer is a party
orb) \\hich Buyer or an) of its properties ma} be bound.

        (d)     Neither the execution and delivery b) Buyer of the Buyer Transaction Documents. nor
the performance by Buyer of its obligations pursuant to the Bu} er Transaction Documents, requires the
consent, approval. order or authorization of. or registration with. or th!.! giving of notice to. any
Governmental Authority or an~ other person or entity.

         (e)      Buyer (i) is a sophisticated investor and has such knowledge and experience in financial
and business matters as to be capable of evaluating independent I) the merits. risks and suitability of
entering into the Transaction. (ii) has conductl!d its own analysis and due diligence and independent!)
obtained such information as it deems necessary in order lo make an informed investment decision v. ith
respect to the l'ransferred Rights. (iii) is able to bear the risks attendant to the Transaction and (iv) is
dealing with Seller on a professional ann's-lcngth basis and neither Seller nor any of its affiliates is acting
as a fiducial") or advisor lo Bu) er with respect to the Transaction.

        (I)      Buyer is a ..qualified institutional huyer·· (as defined in Rule l+.lA(a)( I) promulgated
pursuant to the Securities Act). Bu) er is acquiring the Transferred Rights for its own account and not
with a view toward distribution thereof in violation or the Securities Act or any other securities laws.

         (g)      Buyer understands and acknm\lcdges that (i) the Transferred Rights arc being offered
and sold to it in reliance on one or more spccilic exemptions from registration under the Securities Act
and other applicable securities laws. and that Seller is relying in part upon the truth and accurac) of. and
Bu}er's compliance with. the representations. \\arranties and understandings of Buyer set forth in the
Transaction Documems (as defined belO\"') in order to determine the availability of such exemptions and
(ii) the rransferred Rights have not been registered pursuant to the Securities Act or any other applicable
securities laws. and then.: are restrictions on Buyer's ahil ity to resell the Transferred Rights pursuant to
applicable securities laws and pursuant to the Note Purchase Agreement.




                                                      5
SGG - 590/AGR/54 05560 . 1


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 56 of 73
         (h)      Either (i) no interest in the 1 ransfcrred Rights is being acquired b! or on behalf of one
or more Benefit Plans or (ii) the transaction exemption set forth in one or more P'I Es. such as PTE 84-14
(a class exemption for certain transactions determined by independent qualified professional asset
managers). PTC 95-60 (a class exemption for certain transactions involving insurance company general
accounts). PTE 90-1 (a class exemption for certain transactions im olving insurance compan) pooled
separate accounts). PT[ 91-38 (a class exemption for certain transactions involving bank collective
investment funds). and PTE:. 96-23 (a class exemption for certain transactions determined b) in-house
asset managers). is applicable "ith respect to the purchase and holding of the Transferred Rights and the
exercise of Bu) er's rights\\ ith respect to the Transferred Rights or under this Agreement.

          (i)     There is no investment banker. broker, tinder. or other intem1cdial") retained b) or
authorized to act on behalf of Buyer who might be entitled to an) fee or commission from Seller or an) of
its affiliates upon consummation of the Transaction.

       (j)     There is no action, lawsuit. arbitration. claim or proceeding pending or. to the best of
Buyer·s knO\\ledge. threalened. against Buyer that could reasonably be expected to impede the
consummation of the Transaction.

         (k)     Buyer acknov.. ledgcs that (i) Seller current!)' may have. and later may come into
possession of. information \\ ith respect to the fransfcrred Rights that is not knO\\ n to Buyer and that may
be material to a decision to purchase the Transferred Rights ("'Bu\ er Excluded Information"). (ii) Bu)'er
has determined to purchase the Transferred Rights notwithstanding. its lack of knov.. ledge of the Buyer
bcluded Information and (iii) Seller shall have no liability to Buyer. and Buyer waives and releases any
claims that it might have against Seller. whether under applicable securities laws or otherwise. with
respect to the nondisclosure of the Buyer Excluded Information in connection with the Transaction;
provided. however. that the Buyer Excluded lnformution shall not and does not affect the truth or
accurac) of Seller's representations or warranties in this Agreement.
         (I)     The consideration given for the purchase b) Buyer of the Transferred Rights may differ
both in kind and in amount from an) payments or distributions \\hich Buyer ma; ultimately receive \\ith
respect to the Transferred Rights. and Buyer shaJJ not have any recourse to Seller for any deficiency.


4. CONDITIONS OF CLOSING

        (a)      The obligation of Seller to transfer the Transferred Rights to Buyer on the Closing Date is
subject to the satisfaction. on or before the Closing Date. of each of the follo\\ing conditions (any of
\'>hich ma) be waived b) Seller in \\hole or in part) and payment of the Purchase Price as set forth herein:

                   (i)    The representations and \\Urranties of Buyer shall be true and correct in all
           material respects as of the date \\hen made and as of the Closing Date as though made at that
           time (except for representations and warranties that speak as of a specific date). and Buyer shall
           have perfonncd. satislied and complied with the covenants. agreements and conditions required
           by this Agreement to be performed. satisfied or complied with by Buyer at or prior to the
           Closing Date.

       (b)       The obligation of Buyer to pa) the Purchase Price on the Closing Date is subject to the
satisfaction. on or before the Closing Date. of each or the following conditions (any of\\ hich ma) be
waived b) Buyer in whole or in part):

                   (i)     l"he representations and warranties of Seller shall be true and correct in all
           material respects as of the date \\hen made and as of the Closing Date a~ though made at that

                                                       6
~GG   590/AGR/5 405560 . 1

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 57 of 73
         time (except for reprec;cntations an<l "arranties that ::;peal... as or a specitic date). aml Seller shall
         have perfonned. satisfied and complied \\ ith the covenants. agreements and conditions required
         b) this Agreement to be performed. satisfied or complied \\ith b) Seller at or prior to the
         Closing Date.

5.      DISTRIBUTIONS

         All distributions. cash. pa) ments. propert) and proceeds in respect of the Transferred Rights. no
matter the form (collective I) ...Distributions.. )." hcther accruing before. on or after the Trade Date. if and
when paid on or after the Trade Date. are for the account of Buyer" ithout an) additional consideration.
Ir at an) time on or after the Trade Date Seller receives an) Distributions. Seller\\ ill (a} accept and hold
the Distributions for the account and sole benefit of Buyer. (b} have no equitable or beneficial interest in
the Distributions and (c) promptly deliver the Distributions lo Buyer.

6.      VOTING

        On and after the Trade Date. Buyer has sole authorit} to mal-e. grant and exercise (or refrain from
making. granting and exercising) all votes. \\hethcr pursuant to amendments. consents. approvals or
waivers. or othemise to exercise (or refrain from exercising) all other rights and remedies" ith respect to
the Transfem!d Rights. If for any reason Seller is entitled to exercise voting power with respect to the
Transferred Rights after the Trade Date. then, to the extent permitted by appl icable la\\. Seller will
exercise such voting power solely in accordance "ith the prior "' ritten instructions or Buyer. and in the
absence of instruction shall abstain from voting.

7. MISCELLANEOUS

         (a}     Each party agrees to (i) execute and deliver, or cause to be executed and delivered, all
such other and further agreements. documents, Jeeus. assignments. transfers, conveyances and other
instruments and papers. (ii} take or cause to be taken all such other and further actions and assurances as
the other part) may reasonably request. and (iii) cooperate v. ith the other party. in each case. to effectuate
the intent and purposes. and Carr) out the terms. of the Seller Tran<;action Documents and Buyer
Transaction Documents (collectively. the ··Transaction Documents..).

         (b}   All representations, warranties. covenants and agreements contained in or made pursuant
to this Agreement shall survive the consummation of the transactions contemplated hereunder.

         (c)     This Agreement shall be governed h) and construed in accordance with the internal la\\S
of the State of Ne\\ York(\\ ithout regard to any conflicts of la\\ provision that '"ould require the
application of the laws of any other jurisdiction). Each party irre\ocably and unconditionally submits to
and accepts the exclusive jurisdiction of the United States District Court for the Southern District or New
York located in the Borough of Manhattan or the courts of the State of New York located in the Count) of
New Yori... for any action. suit or proceeding arising out of or based upon this Agreement or an) matter
relating to it. Buyer and Seller \\aive any objection that either one ma) have to the laying of venue in any
such court or that any such court is an inconvenient forum or do not have personal jurisdiction over Buyer
and Seller.

         (d)      Buyer and Seller agree to bear their own respective legal and other costs and expenses in
connection \\>ith this Ai:.rreement and the consummation of the 1 ransaction: provided. however, that Buyer
and Seller '"ill share equally an) transfer fees or transter costs imposed by the Issuer or an) other third
part) in connection with the transfer of the Notes from Seller to Buyer.



                                                        7
566-5~0/AGR/~405560 . 1


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 58 of 73
        (e)     This Agreement shall inure to the benefit of and be binding upon the successors and
permitted assigns of each of the parties. ln no event will either party assign or transfer an) of its rights or
obligations pursuant to this Agreement\\ithout the express prior written consent of the other party.

         (f)    The Transaction Documents constitute the entire understanding of the parties with respect
to the subject matter thereof. and supersede all prior understandings "ith respect to the subject matter of
this Agreement.

         (g)     This Agreement may be amended with (and onl) with) the written consent of Seller and
Buyer.

       (h)      I his Agreement may be executed in one or more counterparts, each of \\hich shall be
deemed an original and all of \\hich together shall be considered one and the same agreement.
Transmission by facsimile or other form of electronic transmission of an executed counterpart of this
Agreement\\ ill be deemed to constitute due and sufficient deliver) of such counterpart.

          (i)      An) provision of this Agreement that is prohibited or unenforceable in any jurisdiction
 shall. as to such jurisdiction. be ineffective to the extent of such prohibition or unenforceability without
 invalidating the remaining provisions hereoC and any such prohibition or unenforceability in any
jurisdiction shall (to the full extent permitted b) law) not invalidate or render unenforceable such
 pro\'ision in an} other jurisdiction.



         O>       Each of the parties agrees that. without the prior written consent of the other party. not to
disclose. and to othem ise keep confidential. the terms of the Transaction. except that an) part) ma)
make an) such disclosure (i) as required to implement or enforce this Agreement, (ii) if required to do :;o
by an) lav•. court, regulation. subpoena or other legal process. (iii) to an) governmental authorit) or 'ielr-
rcgulatory entit)' having or asserting jurisdiction over il. and (iv) if its attorneys advise it that it has a legal
obligation to do so or that failure to do so might result in it incurring a Jiabilit) to any other entit) or
sanctions that ma) be imposed b) any governmental authorit}: provided however. that the parties ma)
disclose infom1ation regarding the Transaction (x) to their respective affiliates, directors. otlicers.
employees, agents. advisors. counsel. accountants. auditors. limited partners. shareholders and other
interest holders and(}) (other than with respect to the Purchase Price) to the extent necessary to effect the
Transaction or a subsequent transfer of the Transferred Rights or any portion thereof.

     (k)    CACH PARTY WAJVES ANY RIGHT TO A TRIAL BY JURY IN ANY LA WSLI r.
ACTION OR PROCEEDING TO ENFORCI · OR DEFEND ANY RIGHT UNDER THIS AGREEMENT
OR ANY AMENDMENT. INSTRUMENT. DOCUMENT OR AGREEMENT DELIVERED OR TO BE
DELIVERED IN CONNECTION WITH Tl llS AGREEMCNT AND AGREES THAT ANY LAWSUIT.
ACTION OR PROCEEDING\\ ILL BE TRIED BEFORE A COURT AND NOT BEFORl: A JURY.



                                            [sig11at11r~ paRe follows]




                                                         8
5G6 5~0/AGR/5405560 . l

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 59 of 73
         I '• \•. 11 \.I ....... \\ 111 RI I >I                                                I   Jft              I 1 I




                                                  !'-1111 IC

                                                  fl I I I ' I 111 II \ \ .f, \ I. I I I ' 111 J '\ I: I! \'\I II

                                                                                            , .... -         ~

                                                  lh
                                                  • 'l' t
                                                                      I
                                                                       RUPERT Pin

                                                  ll
                                                       11.
                                                                   G;TOR
                                                                   1'Ei£~c:N
                                                  '\ II ,
                                                        ,n ..·

                                                                            M lrN *Cr i t>r(i(" 'l> i ll.. E'L~
                                                  111 1 1,1111 II \ ,' \  "i )c,. '\ I \ \ ' 11 l{I, I :I{ \ ' I II
                                                  I \                  '-o -1
                                                  ' · t 11.                    t. •i.i .... h 1111;
                                                  ,,
                                                  I ii,
                                                                                   IH!('~tJ/             /

                                                  •.... 1111.
                                                  I II ,
                                                                           P1erru Gn:.11101 f\u11rc
                                                                             Ma'laginti r "'-'' t •
                                                  1:1\ 1 1<




                                                  ,,
                                                  'fl
                                                  I .




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 60 of 73
    1:--J \\ 11 :---1.s:-; V..111.RE< JI. 1hi-; P11rd1:N: \g.n.·1.·1111.·111 i:-. C.\t;>1:111cd a-.11!'th1: dak 'cl li111h ahL1\c.


                                                  SEl.U:H.:

                                                  UEll'ISCIU: BANK A<;, l .ff\l>ON BR.\.'°'CH


                                                  I\~.
                                                  Numc:
                                                  l'itlc:
                                                  B~:
                                                  :-..111111.·:
                                                       l'it II.!·


                                                  l>Et lTSCllE BANK AC;, NEW HmK BRAl\C II

                                                  B~:
                                                  \;r.1111::
                                                  I 1111::
                                                  B~:
                                                  \.mm::
                                                  I itlc:

                                                  IHl\' EH.:

                                                 11.snc Sf.Cl:JU1U:s ( l"SA) 1:\C.




                                                  :-.amc: (\ .......
                                                   l'itlc: ft




                                                                    9


U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 61 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 62 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 63 of 73
                             13th




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 64 of 73
                TRADE CONFIRM

                Trade Date: 10/13/2017
                HSBC sold: 10mm Cusip: US698491AA54 @ [REDACTED].
                Settlement: DTC (T+5)
                HSBC contact: Tom Curran
                Paloma Contact: John Silvetz
                Note Purchase Agreement: Forthcoming from Kara Katz.

                Trade Terms: HSBC has right of first refusal on Paloma piece and
                Paloma has right of first refusal on HSBC piece in event either party
                wishes to sell their piece.




U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 65 of 73
                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF HAWAII


IN RE:                                          §
                                                §
PANIOLO CABLE COMPANY, LLC,                     §        CASE NO. ______________
                                                §        (Involuntary Chapter 11)
       Alleged Debtor.                          §
                                                §

DECLARATION OF DEUTSCHE BANK TRUST COMPANY AMERICAS, AS AGENT,
     IN SUPPORT OF INVOLUNTARY CHAPTER 11 PETITION AGAINST
                  PANIOLO CABLE COMPANY, LLC

       I, Rodney Gaughan, declare as follows:

       1.     I am an authorized officer acting on behalf of Deutsche Bank Trust Company

Americas. I submit this declaration in support of the Involuntary Chapter 11 Petition Against

Paniolo Cable Company, LLC.

       2.     I am over the age of 18 and have personal knowledge of the facts stated in this

Declaration, each of which is true and correct to my knowledge.

       3.     Deutsche Bank Trust Company Americas is the Purchasers’ Agent, Registrar,

Paying Agent, Collateral Agent, and Securities Intermediary (collectively, the “Agent”) under

the Amended and Restated Note Purchase Agreement, dated as of October 1, 2007 among

Paniolo Cable Company, LLC, as Issuer, Deutsche Bank AG, New York Branch, as Initial

Purchaser, Deutsche Bank Trust Company Americas, as Purchasers’ Agent, Registrar, Paying

Agent, Collateral Agent and Securities Intermediary, and the purchasers party to the agreement

from time to time (the “Note Agreement”).

       4.     Pursuant to the Note Agreement, Paniolo Cable Company, LLC is obligated to

pay or reimburse Deutsche Bank Trust Company Americas, in such agency capacities, for all of

the reasonable out-of-pocket costs, expenses, and fees of Deutsche Bank Trust Company


 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 66 of 73
Americas accruing in performance of its duties under the Note Purchase Agreement and related

agreements (the “DTBCA Fees and Expenses”).

         5.     “Exhibit A” and “Exhibit B” attached hereto are true and correct copies of the

invoices due and owing to Deutsche Bank Trust Company Americas, as Agent, by Paniolo Cable

Company LLC for the DTBCA Fees and Expenses. The information contained in the invoices

and the invoices themselves are maintained by Deutsche Bank Trust Company Americas in the

ordinary course of business.

         6.    The invoices attached hereto as “Exhibit A” and “Exhibit B” are due and owing

by Paniolo Cable Company, LLC, and the amounts reflected therein are to my knowledge true

and correct.   A record of said amounts is maintained by Deutsche Bank Trust Company

Americas, and the amounts are due and unpaid. There have been no offsets, payments, or credits

to the amounts reflected in the attached exhibits.

         7.    As of August 7, 2018, there was currently outstanding, past due, and unpaid the

sum of $24,557 under the invoices in “DBTCA Exhibits A and B.” No payments have been

received with respect to the invoices since that date.

         8.    To my knowledge, neither Paniolo Cable Company, LLC or any other person has

disputed Paniolo Cable Company, LLC’s liability for the invoices in “Exhibits A and B” or the

amount due thereunder.

         9.    No payments have been made by Paniolo Cable Company, LLC on any of the

Notes issued under the Note Purchase Agreement since May 20, 2013.

         10.   Effective as of September 25, 2015, Paniolo Cable Company, LLC

acknowledged, confirmed and agreed that immediately prior to such date, Paniolo Cable

Company, LLC was indebted to the Agent and the holders of the notes under the Note




73634425.5                             -2-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 67 of 73
Agreement in the following amounts: (i) to the holders of the Series A first lien secured notes in

the principal amount of $186,296,177, (ii) to the holders of the Series B second lien secured

notes in the principal amount of $22,204,327, and (iii) to the holders of the Series C subordinated

unsecured notes in the principal amount of $643,416, in each case plus accrued interest thereon

plus accrued and unpaid fees, costs and expenses due under the Note Agreement.

         11.   Deutsche Bank Trust Company Americas, as Agent, has authorized Norton Rose

Fulbright US LLP and Chun Kerr LLP to act as counsel in its capacity as a petitioning creditor.




                        [REMAINING PORTION OF THIS PAGE IS BLANK]




73634425.5                             -3-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 68 of 73
U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 69 of 73
                               CERTIFICATE OF SERVICE

       I hereby certify that on the 13th
                                     __ day of November, 2018, a copy of the foregoing
Declaration has been served upon the persons entitled to notice by either U.S. first class mail,
postage prepaid or by electronic notification and as required under the Federal Rules of
Bankruptcy Procedure.

                                               /s/ Toby L. Gerber




73634425.5                             -5-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 70 of 73
                           DBTCA EXHIBITS A & B




73634425.5                             -6-
 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 71 of 73
August 7, 2018




Ladies and Gentlemen,

Payment of our fees for services rendered in connection with the below charges are now due.
Feel free to contact Rodney Gaughan at (201) 593-4016 with any questions regarding this
invoice.

 For Extraordinary Services* rendered by Deutsche Bank Trust Company Americas as
 Purchasers’ Agent, Securities Intermediary and Collateral Agent, for the period of
 January 1, 2018 through July 31, 2018:
                                                 USD 10,382.00



Please credit:

Deutsche Bank Trust Company Americas
Corporate Trust and Agency Services
SWIFT: [REDACTED]
ABA#: [REDACTED]
Account Name: NYLTD Funds Control-NY
Account Number: [REDACTED]
Ref. Paniolo Cable Company LLC – Extraordinary Services
Attn: Jennifer Vandyne / M50E


Sincerely,

Rodney Gaughan                                                                          EXHIBIT
Vice President
                                                                                             A
*Extraordinary Services refers to services we have provided as a result of the defaults under the NPA. We
have a team of dedicated default and distressed transaction specialists who handle the additional work
which is above and beyond our normal agent duties.



 U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 72 of 73
                                                              EXHIBIT
                                                                  B

U.S. Bankruptcy Court - Hawaii #18-01319 Dkt # 1 Filed 11/13/18 Page 73 of 73
